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IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN
DISTRICT OF TEXAS AUSTIN DIVISION
                                                                       FILED
                                                                     June 14, 2023
                                                                CLERK, U.S. DISTRICT COURT
                                                                WESTERN DISTRICT OF TEXAS
JANE DOE                   RECEIVED                                          JMV
                                                             BY: ________________________________
                              June 14, 2023                                          DEPUTY

Plaintiff,              CLERK, U.S. DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS

                                      JMV
                      BY:_______________________________
                                              DEPUTY


vs.

MARK A. GIPSON
Defendant.

Civil Action No. 1:23-cv-00463

MOTION TO CONTEST EMERGENCY APPLICATION FOR
TEMPORARY RESTRAINING ORDER AND CONTEST THE
PRELIMINARY INJUNCTION AGAINST MARK A. GIPSON AND
COUNTER MOTION TO REQUEST PRELIMINARY INJUNCTION
AGAINST THE PLAINTIFF JANE DOE
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INTRODUCTION:
My name is Mark Alan Gipson, I am a 48 year old male with a long history
of helping and supporting women of all ages and races. I am a graduate of
the University of Texas at Austin, Eagle Scout, professional artist and I
maintain a clean and clear criminal record. I have lived in Austin, Texas for
26 years.

NOTE: ORDER PROHIBITING PUBLIC DISCLOSURE
NO. D-1-DC-13-302129 and ORDER OF EXPUNCTION D-1-EX-19-000411

As the Pro Se plaintiff and photographer in this matter, I am writing to make
a compelling case regarding the ownership of copyrights for images I
captured, specifically those involving outdoor nude photography. The law
provides that, as a photographer, I hold the rights to the images I produce,
irrespective of the model's involvement.

Under U.S. copyright law, specifically 17 U.S.C § 102(a), copyright
protection extends to "original works of authorship fixed in any tangible
medium of expression," which includes photographs. The seminal case of
Burrow-Giles Lithographic Co. v. Sarony, 111 U.S. 53 (1884) confirms that
photographs can be original works of authorship, granting the photographer
the exclusive right to reproduce, distribute, and display the photographs
taken.

The creation of the photograph – the angle, the lighting, the composition –
is my work, my authorship. Hence, irrespective of the subject matter or the
model's presence, the photographs I take are, by law, my property.

As for the issue of consent, I argue that I had both a signed ADULT MODEL
RELEASE FORM AND FORM 2257 EXHIBIT (190-192) and the nature of the
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outdoor location – a public property – reduces the reasonable expectation
of privacy. This position finds support in the case of Nussenzweig v.
DiCorcia, 11 Misc. 3d 1051(A), 2006 N.Y. Slip Op. 50171(U) (2006). In this
case, the court held that an individual's right to privacy does not extend to
public spaces. Consequently, a photograph taken in a public area, where the
expectation of privacy is limited, does not require the subject's consent.

However, I am fully aware that the First Amendment rights must be
balanced against the individual's right to privacy under the Fourth
Amendment. The precedent set in Gericke v. Begin, 753 F.3d 1 (1st Cir.
2014) is relevant here. The court held that "a traffic stop is not a private
event that, under ordinary circumstances, may not be filmed without the
consent of the parties."

This logic can extend to the matter at hand: public spaces are not private
events and photography in these areas, within legal parameters, does not
necessitate explicit consent from the photographed individuals. As in the
case of the outdoor nude photography in question, the images were
captured in a public setting where the expectation of privacy was inherently
reduced.

While nudity might introduce further complexity, it is crucial to note that the
photographs were taken with a legitimate purpose, bearing artistic and
expressive values. In Miller v. California, 413 U.S. 15 (1973), the Supreme
Court ruled that works would only be deemed obscene (and thus
unprotected) if they lacked "serious literary, artistic, political, or scientific
value."

The images I produced were not made for any obscene purpose. Instead,
they are meant to express artistic values, and their creation in a public
setting further reinforces the absence of any reasonable expectation of
privacy.
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In conclusion, as the creator of these photographs, I respectfully assert my
right to the copyright over these images. The photos were taken in a public
space, reducing the model's reasonable expectation of privacy, and they
serve an artistic, expressive purpose rather than an obscene or harmful
one. I request that the court recognize my rights under copyright law and
uphold the lawful nature of my artistic practice.
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1) Explanation for Actions Taken to
Initiate Legal Proceedings
I write to you as a pro se defendant in the case presently before this Court.
I feel it is crucial to provide you with some context regarding my conduct
leading up to the initiation of the current legal proceedings.

In November 2022, I found myself in a position necessitating legal action
against the Plaintiff. However, I encountered a considerable obstacle in
pursuing this course of action: I was unable to locate the Plaintiff's mailing
address, as she claimed she had moved from Miami to New York City.
Without her address, I was unable to serve notice of the intended lawsuit,
effectively preventing me from seeking a resolution through the court
system, which I strongly believe in and respect.

Faced with this predicament, I made the decision to employ what, in
isolation, may seem like extreme measures. I engaged in a series of harsh
text messages, intended to provoke the Plaintiff into initiating a lawsuit
against me. This decision was not made lightly. I deemed it the only
available path to bring our dispute before the court, where I am confident it
can be resolved fairly and equitably based on the evidence at hand.

I understand that my actions may be viewed negatively. I assure you that it
was not my intention to create an atmosphere of hostility or to evade legal
responsibility. On the contrary, my intent was to expedite the legal process,
which I was unable to initiate due to the Plaintiff's relocation and my
inability to locate her. I believe in the rule of law and the resolution of
disputes through the judicial system. It was my desire to bring our issues
before the court that motivated my actions.

Now that the Plaintiff has initiated legal proceedings, I eagerly anticipate
the opportunity to present my evidence and arguments to the court. I regret
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any misinterpretation of my actions and look forward to a fair hearing. It is
my hope that this letter will provide a clearer understanding of the
circumstances leading up to these proceedings.

Thank you for your time and consideration. I look forward to the opportunity
to present my case.
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2) Addressing the Very Serious Allegations
of Sexual and Physical Assault
First and foremost I feel compelled to address the very serious allegations
of sexual and physical assault. These accusations are 100% untrue and
represent defamation in the most harmful way possible.

I realize the serious nature and implications these defamatory statements
can rightfully have on anyone reading the Plaintiff’s allegations against me
and recognize how polarizing and harmful these statements are and the
irreversible damage these accusations have already had to my reputation
and potential long term potential monetary damages.

It appears, based on the statements the Plaintiff, JANE DOE has made
under oath that she is accusing me of both “sexually assaulting her while
she was unconscious from the effects of alcohol” and additionally she is
accusing me of physically assaulting her by “punching her in the face”.

I would be remiss if I did not assert with extreme conviction that these
statements are untrue, fabrications, that represent defamation of the
utmost harm. The evidence shows the Plaintiff intentionally lied,
committed perjury and was intentionally dishonest, and acted with malice
when she knowling made false statements under oath.

The Plaintiff, JANE DOE is now claiming (6) months after, for the first time,
that I sexually and physically assaulted her.

Your Honor, I could write a thousand pages, about how protective I am of
the women I travel around the World with, to some of the most dangerous
cities in the world, and how I protect them with my life, and even under what
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I would describe as extreme circumstances and situations, I still protected
JANE DOE with my life and got her home safely back to the United States.

These egregious allegations of both sexual and physical assault are untrue
and did not happen, I further believe the the Plaintiff made up these lies to
purposely and knowingly assassinate my character publicly;

However, rather than defend myself, using my own words, I will defend
myself against these untrue accusations and defamatory allegations, using
the Plaintiff JANE DOE’s own words:

DATE: NOVEMBER 7, 2022

“Don’t reply to this …

I just wanted to say THANK YOU …

and let you know that YOU ARE AMAZING

and I AM GRATEFUL FOR YOU …

I FEEL WARM KNOWING THAT YOUR LOVE …

OVERPOWERS ANY PAIN I HAVE CAUSED YOU.”

EXHIBIT (10) TEXT MESSAGE A True and Correct Copy of a Text Message
from the Plaintiff JANE DOE to the Defendant MARK ALAN GIPSON Dated
NOV 7, 2022

(Note November 7, 2002 was one week after the Plaintiff is now claiming
she was raped and punched in the face)
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My argument is simple, these statements are not consistent with
comments a women accusing a man a raping her and punching her in the
face would write to that same man, one week later, saying the words,
“THANK YOU”, “YOU ARE AMAZING”, “I AM GRATEFUL”, “I FEEL WARM
KNOWING YOUR LOVE” … OVERPOWERS ANY PAIN I HAVE CAUSED YOU.”

These statements do not make any sense when compared to the Plaintiff's
current untrue allegations and show evidence that is contrary to the false
allegations the Plaintiff stated under oath.

I present this text message EXHIBIT (10) TEXT MESSAGE as being true
and accurate evidence that not only did no sexual or physical assault take
place at any time but further evidence that the Plaintiff has initially
fabricated these untrue and defamatory allegations against me, that
resulted in my violent arrest, harm to my reputation and long term monetary
damages.

Point of fact, I had already had sexual intercourse, and experienced most
sexual acts with the Plaintfiff in Miami Florida, years prior to inviting her to
Europe, after originally meeting her on the escort dating website seeking
aragements seeking.com, username “Asianal Angel” and seeing her escort
profiles on the website “what’s your price” whatsyourprice.com EXHIBIT (A)

We had previously had sex at the Versace Mansion, in Danatellas suite, in
Danatella’s bed, was the first time (it was memerable) EXHIBIT (1) after the
Plaintiff, JANE DOE asked me for $500 cash within minutes of sexual
intercourse claiming she was a professional “Sugar Baby”, who “only
fucked rich guys” and she claimed that the $500 cash payment she
demanded was for “her time” and then the Plaitfiff, JANE DOE left within
minutes after being paid $500 cash for “her time” and insisted we stay in
contact. Note that the Plaintiff asked if her beautiful, 25 year old sister
could come with us to Europe and stated “If you are nice to us, I will give
you lots of attention” EXHIBIT (1.1)
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In light of these allegations, I believe it is essential for the court to consider
the credibility and potential bias of the plaintiff. Credibility is a fundamental
aspect of any legal case and is especially important when the allegations at
hand are largely based on the plaintiff's word. As such, I wish to bring to the
court's attention that the plaintiff has a history of working as a female escort
for over 10 years EXHIBITS (57-73) and thus is an experienced criminal
who knows how to avoid prosecution and essentially lies for a living, as it is
often a necessity in the sex industry to lie to customers in order to get paid.

While I understand that a person's profession, in and of itself, does not
necessarily undermine their credibility, I believe that in this case, it is a
relevant fact. It is my understanding that the plaintiff has avoided disclosing
this information, likely due to the illegal nature of sex work and the potential
for it to impact her credibility.

However, I firmly believe that the complete portrayal of facts is crucial for
the court to make a fair and unbiased judgment. This is not an attempt to
embarrass or defame or assassinate the character of the plaintiff, but rather
to ensure that the court has a comprehensive understanding of the
situation.

I am aware that the introduction of such potentially damaging information
about the plaintiff must be handled with the utmost care and respect for the
dignity of all parties involved. I assure the court that my intention is solely to
present an accurate and complete picture of the circumstances surrounding
this case.

I respectfully request that the court take this information into consideration
when assessing the credibility of the plaintiff's statements and the
allegations made against me and reference the true and accurate evidence
presented.
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3) COUNTER TRO AND REQUEST TRO
AND INJUNCTIVE ORDER AGAINST THE
PLAINTIFF

I MARK ALAN GIPSON, am writing to categorically deny the allegations of
sexual misconduct and physical assault that have been levied against me.
These allegations are not only false but, I believe, have been made with
malicious intent, causing significant damage to my reputation as a
professional photographer.

The allegations have shocked me, both personally and professionally, as
they are completely contrary to my personal principles and my professional
conduct. I pride myself on maintaining the highest standards of ethical
behavior, respect, and integrity in all interactions, both in my personal life
and in my work as a photographer. I firmly believe in creating a safe and
respectful environment for all individuals I work with.

Having carefully reviewed the details of the allegations, I understand that
they are rooted in three specific events. I wish to make it clear that in all
these situations, I conducted myself professionally and treated everyone
involved with the utmost respect. The allegations, therefore, are not only
unfounded but are a gross misrepresentation of my character and actions.

Given the severe damage that these unfounded allegations have caused to
my personal and professional reputation, I am left with no other option but
to seek legal recourse.

I am writing to unequivocally deny the allegations of non-consensual
photography that have been leveled against me. These allegations are not
only entirely false, but I firmly believe they have been made with malevolent
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intent, causing substantial harm to my reputation as a professional
photographer.

The allegations have deeply unsettled me, both on a personal and
professional level, as they are diametrically opposed to my ethos and
professional conduct. I have always upheld the highest standards of
integrity, respect, and professionalism in my work as a photographer. This
includes obtaining explicit consent for all photographs taken and respecting
the boundaries and privacy of individuals I interact with.

Upon scrutinizing the details of the allegations, it is clear that they are tied
to three specific events. I wish to underline that during these occurrences, I
conducted myself professionally, treated all involved parties with due
respect, and certainly obtained necessary consents before any
photographic capture. The accusations, therefore, are not only baseless
but also an egregious misrepresentation of my character and actions.

The significant harm that these baseless and groundless allegations have
inflicted on my personal and professional reputation forces me to seek legal
redress.

The extent of the damage caused spans beyond my professional and
personal life, reaching into the very sustenance of my livelihood and the
welfare of my family. These false allegations have resulted in lost business
opportunities, strained professional relationships, and significant emotional
distress.

It is my firm belief that these false and malicious accusations were made in
retaliation for three specific incidents: (1) the deletion of the plaintiff's
Instagram account for solicitation of prostitution, (2) the plaintiff being
reported to the Florida and New York Health Departments for online
impersonation of a physician, a felony in the state of Florida, and (3) the
plaintiff being reported to local Miami / Dade County law enforcement
authorities and Federal FBI law enforcement authorities for, online
impersonation of a physician, interstate sex trafficking, online prostitution,
solicitation of prostitution, theft and wire fraud.
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While I am committed to resolving conflicts in a fair and respectful manner,
resorting to false allegations as a means of retaliation is both unethical and
unlawful.

I am confident that the truth will prevail, and I stand ready to defend my
innocence in court.
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4) COUNTER TO UNTRUE TEMPORARY
RESTRAINING ORDER ALLEGATIONS
“This case presents a textbook example where a restraining order should
be granted.”

This statement is untrue. This case presents a textbook example where a
restraining order should be granted against JANE DOE not the Defendant,
Mark Alan Gipson.

“After obtaining nude photographs and videos of Plaintiff, Mr. Gipson
threatened to disclose her sexually explicit material if she did not continue
to see him or pay him money.”

This statement is untrue. After JANE DOE was paid in excess of $5,500 in
CashApp payments for model fees, she agreed in writing to being
photographed nude, specifically for the purposes of selling nude images
online to make profit. The request for refund of model fee payments,
especially the $1,500 model fee that was paid on November 14, 2022 after
the Plaintiff JANE DOE agreed to go to Tulum Mexico to continue creating
content for commercial use and distribution. EXHIBIT (45-47) This request
for a refund for expenses did not represent a “threat” or “extortion” of any
kind.

“Mr. Gipson made good on this threat and unlawfully disclosed at least
twelve (12) sexually explicit photographs and videos of Plaintiff without her
consent.”

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
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and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.

“Additionally, Plaintiff discovered that Mr. Gipson is using a fake
Instagram to impersonate her, post false statements, and disclose other
compromising photographs to her friends, family, and coworkers. Plaintiff
seeks this restraining order to prohibit Mr. Gipson from continuing to
disclose her intimate visual material and disparaging her name, and to
remove the currently-posted material, so that further irreparable harm is not
inflicted on Plaintiff pending resolution of this lawsuit.”

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.



“Plaintiff is likely to prevail on the merits of her claims; and because the
unlawful disclosure of her sexually explicit material is “intrinsically harmful,”
she has also demonstrated irreparable harm.”

This statement is not true, the Plaintiff is NOT likely to prevail based on her
dishonest, untrue and defamatory, false claims as the irrefutable digitally
preserved true and accurate evidence shows.

“Moreover, because Mr. Gipson continues to harass Plaintiff with the threat
of future disclosures, the threat of further irreparable harm to Plaintiff’s
reputation and emotional health is imminent.”
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This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.

“Without an order restraining Mr. Gipson from continuing to operate the
fake Instagram account and disclosing Plaintiff’s sexually explicit material,
the threat of damage to Plaintiff is actual and imminent. The Court
therefore should issue a TRO and preliminary injunction againstMr. Gipson.”

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.

II. SUMMARY OF RELIEF REQUESTED

Plaintiff respectfully requests a temporary restraining order and preliminary
injunction:

(a) ordering Mr. Gipson to cease any future display or disclosure of the
visual depictions or false representations about Plaintiff, including the
images and representations referenced herein;

I come before this court as a pro se defendant, vigorously contesting the
imposed restraining order by the plaintiff, Jane Doe, due to several
compelling and persuasive reasons grounded in facts, constitutional law,
and established case precedent.

I. Upholding First Amendment Rights
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The First Amendment of the United States Constitution firmly safeguards
the right to freedom of speech, a broad category that encapsulates various
forms of expressive conduct, including the display and dissemination of
photographs with artistic merit. The seminal Supreme Court case of
Joseph Burstyn, Inc v. Wilson (1952) conclusively determined that artistic
expressions are considered protected speech under the First Amendment.
This is the bedrock of my defense, emphasizing my constitutional right to
share my work freely as an artist.

II. Copyright Ownership

As an artist, my rights are further protected by the Digital Millennium
Copyright Act (DMCA). As established in Section 106 of the Copyright Act,
the ownership of a photograph's copyright, absent any prior agreement, lies
with the photographer who created the work. My contention is grounded in
this provision, affirming my sole right to display and distribute my work.

III. Valid Consent and Model Release

The plaintiff had willingly provided her consent for these photographs,
demonstrated through her signature on the Adult Model Release Form and
US Form 2257. It has been firmly established in Dyer v. Napier (2007) that
model release forms are legally binding and affirm the model's consent to
the use and publication of their images. In this instance, the plaintiff's
signed consent forms are an unambiguous endorsement of my right to
publish the images.

IV. Absence of Privacy Expectations in Public Spaces

Photographs captured in public spaces, as is the case here, are generally
not subject to privacy claims due to the lack of an expectation of privacy in
these places. The case of Nussenzweig v. diCorcia (2006) affirmed this
principle, ruling in favor

V. Violation of First Amendment Rights
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The First Amendment to the U.S. Constitution ensures the right to freedom
of speech, which has been extended to include various forms of expressive
conduct, including the display and dissemination of images. This is
particularly relevant when the conduct in question has artistic value.

  ● Refer to U.S. Supreme Court case Joseph Burstyn, Inc v. Wilson
    (1952), which determined that artistic expressions are a form of
    protected speech under the First Amendment.

VI. Violation of Copyright Laws

Under the Digital Millennium Copyright Act (DMCA), as the photographer,
you own the copyright to the images you create, unless there is an
agreement to the contrary.

  ● Refer to Section 106 of the Copyright Act, which provides copyright
    owners with the exclusive rights to display and distribute their works.

VII. Validity of Consent Forms and Model Releases

It's important to emphasize the fact that the plaintiff signed an Adult Model
Release Form and US Form 2257, which generally implies consent for the
photographs taken to be used and published.

  ● Refer to the case of Dyer v. Napier (2007), in which it was ruled that
    signed model releases are valid and binding.

VII. Lack of Expectation of Privacy in Public Spaces

You argue that any photographs taken in public places do not require a
model release form as there is no expectation of privacy in public. While
this is generally true, the specifics of each situation can vary.
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   ● Refer to the case of Nussenzweig v. diCorcia (2006), which ruled in
     favor of a photographer who took a photograph in a public place
     without the subject's consent.

(b) requiring Mr. Gipson to immediately take down all visual depictions of
Plaintiff, as well as sensitive and false representations about Plaintiff, on
any and all public or private forums in which they have been posted,
including, but not limited to, Instagram and Flickr;

I write to you in earnest opposition to the restraining order sought by the
plaintiff, Jane Doe. As a pro se defendant, I believe it's crucial to present my
perspective and establish a comprehensive understanding of the case. I
respectfully submit that there are significant constitutional, legal, and
factual issues that necessitate the court's thoughtful consideration and,
ultimately, the denial of the plaintiff's request.

1. Respect for First Amendment Rights

As a photographer, I understand the profound importance of free speech
and expression, a tenet safeguarded by the First Amendment. The U.S.
Supreme Court's decision in Joseph Burstyn, Inc v. Wilson (1952) reaffirmed
this principle by including artistic expression within the ambit of protected
speech. Consequently, limiting my ability to display or disclose my
photography impinges on my constitutional rights.

2. Recognition of Copyright Laws

In accordance with the Digital Millennium Copyright Act (DMCA), I maintain
the copyright to all images I create, unless explicitly transferred through a
contractual agreement. It has been made clear in Section 106 of the
Copyright Act that copyright owners possess exclusive rights to display and
distribute their works. The injunction sought would violate these exclusive
rights.

3. Validity of Model Release and US Form 2257
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The plaintiff's consent to the creation, use, and distribution of these images
is evidenced by her signature on an Adult Model Release Form and US
Form 2257. Legal precedence in Dyer v. Napier (2007) suggests that such
releases are legally binding, and any attempt to rescind this consent
retrospectively should be viewed skeptically.

4. Absence of Expectation of Privacy in Public Spaces

The plaintiff's request for a restraining order also covers images taken in
public spaces, where privacy expectations do not generally apply. In the
landmark case of Nussenzweig v. diCorcia (2006), the court ruled in favor of
a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

5. Credibility of the Plaintiff

It is also important to consider the credibility of the plaintiff, Jane Doe.
Evidence exists that shows the plaintiff has a history of producing and
distributing explicit content online, using various aliases, and engaging in
professional sex work. EXHIBITS (57-73)

This information, coupled with her self-admitted violent bipolar disorder,
severe alcoholism, and illicit drug addiction, raises significant questions
about her credibility and motives in bringing this case. Moreover, her history
of felonious impersonation of a licensed physician, reported in both Florida
and New York, further tarnishes her credibility and should be taken into
account.

By asking for a restraining order against me, the plaintiff is disregarding her
earlier consent, the lack of privacy expectations in public places, and my
constitutional rights to freedom of expression and my legal rights as a
copyright owner. Given her questionable credibility, the plaintiff's request
seems designed to cause me harm, both financially and reputationally, and
appears to be an attempt to divert attention from her own dubious actions.
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In light of the constitutional, legal, and factual issues presented, I humbly
request that the court deny the plaintiff's request for a restraining order
and, instead, consider implementing protections for me against the
plaintiff's harmful actions.


(c) barring Mr. Gipson from contacting (directly or indirectly) or coming
within 1,000 feet of Plaintiff, any member of Plaintiff’s family, or any person
known to be associated with Plaintiff;

As a pro se defendant, I seek to express my utmost respect for this court's
proceedings and its commitment to ensuring justice. I write to present my
case, premised on constitutional principles, legal precedent, and factual
grounds, arguing that the restraining order sought by the plaintiff, Jane Doe,
is unnecessary and unjust.

1. Constitutional Rights and Inter-State Distance

As enshrined in the U.S. Constitution, every individual possesses certain
unalienable rights. Among these is the freedom of movement, a right
highlighted in Corfield v. Coryell (1823), which would be unduly restricted by
the proposed restraining order. In this case, it's important to note that the
plaintiff and I reside in separate states, making any unintentional
encroachment on her personal space highly unlikely.

2. Absence of a Criminal Record

I'd like to highlight that I maintain a clean and clear criminal record, with no
previous convictions, further illustrating that I pose no credible threat to the
plaintiff. This fact alone discredits the necessity of a restraining order, as
established in Enos v. Snyder (1996), where the court stressed the
relevance of criminal history when determining the potential danger a
defendant may pose.

3. The Principle of Least Restrictive Means
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It is important to note that courts must apply the least restrictive means
when considering orders that limit constitutional rights, as emphasized in
Shelton v. Tucker (1960). In the present case, a restraining order that bars
me from contacting the plaintiff or coming within 1,000 feet of her seems
excessive given the absence of criminal history, our separate residences,
and lack of any evidence suggesting a physical threat.

4. The Plaintiff’s Credibility and Actions

Significant evidence exists questioning the plaintiff's credibility, due to her
extensive criminal past, self-admitted substance abuse, and severe mental
health issues. Her previous actions, including felonious impersonation of a
licensed physician and explicit online content production, demonstrate an
ongoing disregard for societal norms and laws.

Moreover, the plaintiff's extensive history of producing and distributing
explicit content online, under various aliases, suggests a pattern of
behavior that is both provocative and alarming. Consequently, given these
substantial credibility issues, it would be more justifiable to consider a
restraining order against Jane Doe, in the interests of safeguarding my
rights, both legally and personally.

To this end, I respectfully request that the court deny the plaintiff's request
for a restraining order against me and consider the alternative perspective
that, given her past actions and behavior, it may be more appropriate for
such an order to be issued against her instead.


(d) requiring Mr. Gipson to delete the fake Instagram account
@catherine_an impersonating Plaintiff, and further requiring Mr. Gipson to
withdraw the false copyright claim against Plaintiff that was submitted to
Instagram in order to block Plaintiff’s real Instagram account and thereby
silence her response to Mr. Gipson’s attacks;
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Reference EXHIBIT (51-53) EMAIL MESSAGES TO INSTAGRAM relating
to correspondence with Instagram

“Requiring Mr. Gipson to delete the fake Instagram account @catherine_an
impersonating Plaintiff,”

The following statements regarding the instagram account @catherine_an
are made arguendo.

Note that Instagram, a privately owned company, differentiates between
"fan" accounts and "impersonation" accounts in its community guidelines
and policies. The key differences lie in the intent and presentation of these
two types of accounts.

1. Fan Account: A fan account is typically created by an individual who
admires or follows a public figure, celebrity, or brand. The purpose is to
share related content, engage with others who have similar interests.
Instagram allows fan accounts provided they respect the platform's terms
of service. However, they must make clear that the account is not officially
affiliated with the person or entity it represents by using the phrase FAN
ACCOUNT.

2. Online Impersonation: An impersonation account, on the other hand, is
created with the intent to deceive others into believing that the account is
operated by the individual it claims to represent. This is against Instagram's
rules. The crucial difference between a FAN account and an impersonation
account lies in the intention to deceive.

“and further requiring Mr. Gipson to withdraw the false copyright claim”

1. Respect for First Amendment Rights

As a photographer, I understand the profound importance of free speech
and expression, a tenet safeguarded by the First Amendment. The U.S.
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Supreme Court's decision in Joseph Burstyn, Inc v. Wilson (1952) reaffirmed
this principle by including artistic expression within the ambit of protected
speech. Consequently, limiting my ability to display or disclose my
photography impinges on my constitutional rights.

2. Recognition of Copyright Laws

In accordance with the Digital Millennium Copyright Act (DMCA), I maintain
the copyright to all images I create, unless explicitly transferred through a
contractual agreement. It has been made clear in Section 106 of the
Copyright Act that copyright owners possess exclusive rights to display and
distribute their works. The injunction sought would violate these exclusive
rights.

3. Validity of Model Release and US Form 2257

The plaintiff's consent to the creation, use, and distribution of these images
is evidenced by her signature on an Adult Model Release Form and US
Form 2257. Legal precedence in Dyer v. Napier (2007) suggests that such
releases are legally binding, and any attempt to rescind this consent
retrospectively should be viewed skeptically.

4. Absence of Expectation of Privacy in Public Spaces

The plaintiff's request for a restraining order also covers images taken in
public spaces, where privacy expectations do not generally apply. In the
landmark case of Nussenzweig v. diCorcia (2006), the court ruled in favor of
a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

“submitted to Instagram in order to block Plaintiff’s real Instagram account
and thereby silence her response to Mr. Gipson’s attacks;”
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I wish to draw your attention to a significant point of contention involving
the plaintiff's Instagram account, @BadKittyKatt, which was permanently
deactivated by Instagram for solicitation of prostitution—a clear violation
of Instagram's community standards and terms of service.

In Manhattan Community Access Corp. v. Halleck (2019), the U.S. Supreme
Court ruled that private entities like Instagram are not subject to First
Amendment constraints. They are entitled to enforce their own rules and
community standards, independent of external pressures. The decision to
delete an account for breaching these standards is taken solely by
Instagram's administrative body based on the content that the account's
user has chosen to share.

Further, the Communications Decency Act of 1996 (47 U.S.C. § 230)
establishes that no provider or user of an interactive computer service shall
be treated as the publisher or speaker of any information provided by
another information content provider. This underlines the fact that the
defendant has no control over, or liability for, the content posted or the
resulting actions taken by Instagram.

The plaintiff’s argument, suggesting that I have any control over
Instagram's actions, is inconsistent with these legal principles. Moreover,
given the evidence of the plaintiff's account being deactivated for
solicitation of prostitution, it is evident that the plaintiff’s conduct, not any
actions on my part, led to Instagram's decision.

It is therefore absurd and unfounded to imply that I, the defendant, could
exert influence over how Instagram enforces its own rules. I respectfully
submit that any claims to the contrary should be dismissed, considering
established legal precedent and the factual basis.

“(e) barring Mr. Gipson from making defamatory statements about Plaintiff;
And”
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I write to challenge the proposed constraint barring me, as the defendant,
from making statements about the plaintiff, Jane Doe. This proposed
restriction, in its current form, could potentially infringe upon my
constitutional rights under the First Amendment.

1. Right to Freedom of Speech

The First Amendment to the U.S. Constitution guarantees the freedom of
speech, a principle affirmed by numerous Supreme Court cases including
Snyder v. Phelps (2011). This right allows citizens to express their opinions
freely, even if they are critical or disparaging. It serves as a bedrock
principle, preserving the exchange of ideas and fostering the robust debate
that is essential to our democracy.

2. Right to Defense and Response

An unduly broad restriction on my ability to make statements about the
plaintiff could inflict upon my right to mount a defense or respond to
allegations. As per the ruling in Gentile v. State Bar of Nevada (1991), an
attorney, and by extension, a party in a case, has the right to defend
themselves in the court of public opinion. Any constraint limiting this right
must be examined in the light of its constitutionality.

3. False Light Invasion of Privacy and Defamation

It's worth noting that the plaintiff's previous actions have resulted in the
release of defamatory statements against me. Given the plaintiff's history
of online activity, her potential for reaching a broad audience, and the
severity of the claims she has made, this poses a significant harm. In cases
such as Time, Inc. v. Hill (1967), the Supreme Court has upheld the right to
bring action for false light invasion of privacy, which closely aligns with
defamation. Based on this precedent, it may be more appropriate to
consider a protective order against the plaintiff, rather than limiting my
ability to express my perspective.
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4. Balancing Rights

While I acknowledge that there is a compelling interest in protecting
individuals from defamatory remarks, the Supreme Court in New York
Times Co. v. Sullivan (1964) emphasized the need to balance this interest
against the First Amendment's protection of free speech. This case set a
high bar for people to claim defamation, requiring them to prove that the
speaker acted with "actual malice" – that is, knowing that the statement
was false or showing a reckless disregard for the truth.

Given this, it is important that the right to freedom of speech is not
curtailed excessively in efforts to protect against potential defamation.

In conclusion, I respectfully argue that barring me from making statements
about the plaintiff may infringe upon my First Amendment rights and limit
my ability to defend myself in a public arena. Given the plaintiff's history
and actions, it may be more appropriate to consider protective measures
against Jane Doe.

“(f) ordering Mr. Gipson to refrain from disclosing the true identity of
Plaintiff to any other person.”
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Motion for Disclosure of Plaintiff's Real

Name and Professional Aliases

As a pro se defendant, I am writing to express my concern regarding the

Plaintiff's use of the pseudonym "Jane Doe" in the lawsuit filed against me.

Given the circumstances surrounding this case and the serious allegations

made, I believe it is crucial for the Plaintiff to be identified by her full real

name and any professional aliases used in her line of work in the adult

industry.


In this litigation, I am not only defending myself against allegations that I

deem to be unfounded, but I am also counter-suing for defamation,

claiming substantial damages for loss of profits and emotional distress. I

have irrefutable evidence that these allegations were made with malicious

intent, and I have further evidence that all related photography and

videography were created with explicit permission, for production,

publication, and promotion, in compliance with the Digital Millennium

Copyright Act (DMCA).


In the interest of fairness and transparency in these proceedings, it is

essential that the Plaintiff should not be allowed to proceed under a
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pseudonym. The use of a pseudonym in this case may allow the Plaintiff to

avoid the same level of scrutiny and public accountability to which I have

been subjected as a result of these allegations.


Moreover, the Plaintiff's use of different names and aliases in her

professional life is directly relevant to this case. These aliases not only

raise questions about her credibility but also serve as potential evidence of

criminal activity. The public disclosure of these aliases is crucial in

demonstrating the Plaintiff's willingness to adopt false identities, which is

directly relevant to her allegations of impersonation against me.


The use of a pseudonym should not be used as a shield to protect

individuals who make false and damaging allegations from facing the

same public scrutiny as those they accuse. In light of this, I respectfully

request the court to require the Plaintiff to proceed under her real name and

any known professional aliases.


I trust in the fairness and objectivity of our legal system and am fully

prepared to present my evidence in court to substantiate my innocence and

counterclaim. I look forward to a just resolution of this matter, which will

not only clear my name but also hold the Plaintiff accountable for her

actions.
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“These requests are reflected in the attached proposed Order Granting
Application for Temporary Restraining Order, which Plaintiff respectfully
requests this Court to grant. Following the entry of this order, Plaintiff
respectfully asks the Court to set her application for preliminary injunction
for hearing at the earliest possible time and, after hearing the request, to
enter a preliminary injunction against Mr. Gipson for the reasons set forth
below. Further, Plaintiff respectfully asks the Court to set her application for
permanent injunctive relief for a full trial on the issues raised in this
Application and Complaint and, after the trial, to issue a permanent
injunction against Mr. Gipson.”

I am writing in response to the plaintiff's request for both a temporary
restraining order and a permanent injunction, which I respectfully submit
should be denied based on established precedent and facts. Furthermore,
the circumstances surrounding this case may warrant the consideration of
a protective order against the plaintiff, Jane Doe.

1. Requirement for Irreparable Injury

For a permanent injunction to be issued, one requirement is that the
plaintiff must demonstrate irreparable harm. The Supreme Court in eBay
Inc. v. MercExchange, L.L.C. (2006) clarified that this requirement holds true
even where statutory provisions authorize injunctive relief.

In the case at hand, Jane Doe has failed to establish a likelihood of
irreparable harm that would warrant such an injunction. In contrast, the
injunctive relief sought by the plaintiff is of a nature that could cause
significant and unwarranted harm to my professional and personal life.

2. Freedom of Speech vs. Defamation

The plaintiff’s injunction seeks to limit my freedom of speech. As
established by numerous Supreme Court rulings such as New York Times
Co. v. Sullivan (1964), restrictions on speech must be considered carefully,
particularly when the speech pertains to public figures or matters of public
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interest. In this case, the plaintiff is a public figure who willingly posts
explicit content online.

Additionally, the plaintiff's history of posting sexually explicit content online,
using aliases, and having a record of illegal activities, underscores a pattern
of disregard for the law and raises serious questions about her credibility.

3. The Balance of Harms and Public Interest

Courts often consider the balance of hardships between the plaintiff and
defendant and the public interest when deciding on injunctions. In the
precedent Winter v. Natural Resources Defense Council, Inc. (2008), the
Supreme Court held that even if there’s a possibility of irreparable harm, an
injunction can be denied if the injunction is against public interest or would
inflict greater harm on the defendant.

In our case, the issuance of an injunction against me would harm my ability
to express myself freely, potentially impact my livelihood, and restrain my
constitutional rights, without clear evidence of a risk of harm to the
plaintiff.

Given these factors, I respectfully request that the court deny the plaintiff’s
motion for a permanent injunction. Instead, considering Jane Doe's
defamatory claims and her history of illicit activities, I propose the court
explore the necessity of an injunction against the plaintiff to protect my
rights and interests.

Declaration of Ricco Moldt (hereinafter “Moldt. Decl.”) at ¶ 13.

In an effort to present a clear and accurate account of Mr. Ricco Moldt's
character, it is pertinent to bring to light certain crucial pieces of evidence,
preserved in digital audio recordings, that significantly contradict the image
of a law-abiding, professional individual Mr. Moldt seeks to project.
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A closer examination of these audio recordings, created for my safety and
protection, reveals certain confessions made by Mr. Moldt that raise
serious concerns. Mr. Moldt can be heard explicitly stating, "I am a whore",
and referring to explicit sexual acts in a commercial context with phrases
such as "give them head, get the bread, then leave" and "I am not talking
about yanking a dick, bitch I did that yesterday", and “this shit was boring,
come whore me out daddy.” Additionally, Mr. Moldt, makes an extremely
racist and disturbing comment about “German Nazis making Jew-Cakes in
their Gas Chambers” EXHIBIT (48-49) TRANSCRIBED DIGITAL VOICE
RECORDINGS

These statements strongly suggest that Mr. Moldt is an active participant in
the sex industry. His explicit and casual references to sexual acts being
performed for financial gain provide clear evidence of his involvement in
this line of work. It is essential to consider the potential ramifications of
these activities, particularly when paired with a history of criminal behavior,
mental health issues, and struggles with addiction, as reported.

This evidence paints a starkly different portrait of Mr. Moldt than the one he
presents to the court. It is crucial to note that this industry, fraught with
risks and potential illegal activity, and his statements might indeed reflect a
character that is at odds with the values of respect, honesty, and legality
that our justice system upholds.

Therefore, I respectfully request the court to consider this critical evidence
when evaluating the character and credibility of Mr. Ricco Moldt in the
proceedings at hand. In addition, please note that Mr. Moldt represented
himself under the alias Ricco M. Rassmusen.

“Upon returning to the United States, Mr. Gipson refused to give Plaintiff the
sexually explicit photographs he had already taken of her, instead claiming
that Plaintiff’s sexually explicit material belonged to him.”
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This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows. EXHIBIT (12-19)
TEXT MESSAGE

Jane Doe Decl. at ¶ 18. Plaintiff explicitly directed Mr. Gipson not to post
the nude photos anywhere, “not on [his] Instagram or even sending the
pictures to someone.” Id. at ¶ 19; see also id. at Ex. 2.2

1. Respect for First Amendment Rights

As a photographer, I understand the profound importance of free speech
and expression, a tenet safeguarded by the First Amendment. The U.S.
Supreme Court's decision in Joseph Burstyn, Inc v. Wilson (1952) reaffirmed
this principle by including artistic expression within the ambit of protected
speech. Consequently, limiting my ability to display or disclose my
photography impinges on my constitutional rights.

2. Recognition of Copyright Laws

In accordance with the Digital Millennium Copyright Act (DMCA), I maintain
the copyright to all images I create, unless explicitly transferred through a
contractual agreement. It has been made clear in Section 106 of the
Copyright Act that copyright owners possess exclusive rights to display and
distribute their works. The injunction sought would violate these exclusive
rights.

3. Validity of Model Release and US Form 2257

The plaintiff's consent to the creation, use, and distribution of these images
is evidenced by her signature on an Adult Model Release Form and US
Form 2257. Legal precedence in Dyer v. Napier (2007) suggests that such
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releases are legally binding, and any attempt to rescind this consent
retrospectively should be viewed skeptically.

4. Absence of Expectation of Privacy in Public Spaces

The plaintiff's request for a restraining order also covers images taken in
public spaces, where privacy expectations do not generally apply. In the
landmark case of Nussenzweig v. diCorcia (2006), the court ruled in favor of
a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

B. MR. GIPSON THREATENED TO SHARE PLAINTIFF’S IMAGES AND
VIDEOS IF SHE DID NOT CONTINUE TO SEE HIM OR PAY HIM MONEY

This statement is untrue and is a gross misrepresentation of the facts and
evidence.

On November 10, 2022, Mr. Gipson told Plaintiff that he would permanently
delete her sexually explicit photographs only if she sent him $5,000.

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.

Id. at ¶ 20; see also Ex. 3. Between November 10, 2022 and November 11,
2022, Mr. Gipson sent Plaintiff over fifteen abusive text messages, emails,
and voicemails. Id. at ¶¶ 21–24; see also Exs. 4–9. Among other threats
and profanities, Mr. Gipson told Plaintiff that
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(i) he would enjoy “warning” people about her because she is an “awful ugly
cunt of a person;”

(ii) Plaintiff should “think about [her] safety,” and

(iii) he would post and distribute Plaintiff’s nude photographs if she did not
“act accordingly.”

On November 12, 2022, Mr. Gipson made a false copyright report against
Plaintiff’s personal Instagram account, resulting in its permanent deletion.

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.

Jane Doe Decl. at ¶ 25. Plaintiff unsuccessfully appealed Instagram’s
decision and was directed to contact Mr. Gipson directly to resolve the
issue. See Exs. 10–11. That same day Mr. Gipson admitted to accessing
Plaintiff’s iCloud account without her consent and using that information to
track her phone location.

Jane Doe Decl. at ¶ 26; see also Ex. 12; Moldt Decl. at ¶ 16. 2 All
subsequent “Ex.” Cites are to the Declaration of Jane Doe. deserve[s] it.”
Jane Doe Decl. at ¶¶ 36–37; see also Exs. 25–26. Mr. Gipson threatened to
“send the lawyers after [Plaintiff]” to recoup “what [she] owes” him, and
warned her to “consider this situation carefully bc the consequences will
affect [her] for the rest of [her] life.”

Jane Doe Decl. at ¶¶ 37, 39; see also Ex. 27. On November 26, 2022,
Plaintiff received a fake “cease and desist” letter from Mr. Gipson at her
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primary residence. Id. at ¶¶ 42–44; see also Ex. 32; Declaration of Rachel
Stevens (hereinafter “Stevens Decl.”) at ¶¶ 11–12.

The letter claimed that Mr. Gipson would seek monetary damages of up to
$250,000 but, even more troubling, Plaintiff had never provided Mr. Gipson
with her residential address. Id.

1. Respect for First Amendment Rights

As a photographer, I understand the profound importance of free speech
and expression, a tenet safeguarded by the First Amendment. The U.S.
Supreme Court's decision in Joseph Burstyn, Inc v. Wilson (1952) reaffirmed
this principle by including artistic expression within the ambit of protected
speech. Consequently, limiting my ability to display or disclose my
photography impinges on my constitutional rights.

2. Recognition of Copyright Laws

In accordance with the Digital Millennium Copyright Act (DMCA), I maintain
the copyright to all images I create, unless explicitly transferred through a
contractual agreement. It has been made clear in Section 106 of the
Copyright Act that copyright owners possess exclusive rights to display and
distribute their works. The injunction sought would violate these exclusive
rights.

3. Validity of Model Release and US Form 2257

The plaintiff's consent to the creation, use, and distribution of these images
is evidenced by her signature on an Adult Model Release Form and US
Form 2257. Legal precedence in Dyer v. Napier (2007) suggests that such
releases are legally binding, and any attempt to rescind this consent
retrospectively should be viewed skeptically.

4. Absence of Expectation of Privacy in Public Spaces
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The plaintiff's request for a restraining order also covers images taken in
public spaces, where privacy expectations do not generally apply. In the
landmark case of Nussenzweig v. diCorcia (2006), the court ruled in favor of
a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

This letter placed Plaintiff in great fear for her personal safety and forced
her to immediately move. Id. On December 11, 2022, Plaintiff became
aware that Mr. Gipson created an Instagram account impersonating her
with the username “@catherine_an.”

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.

Jane Doe Decl. at ¶ 45–47. As of December 27, 2022, this account has
posted over 73 photographs and videos of Plaintiff without her consent or
permission.

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.

See Ex. 33. The biography portion of the profile, which can be read by
anyone who looks at the account, reads “Fans of Miami Based Korean Sex
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Worker KYEONG MIN AN aka KAT Catherine An Under Investigation for
Impersonating a Physician, Solicitation and Theft.”

Id. In the captions of these posts, Mr. Gipson “offer[s] a $250,000
reward for the arrest and prosecution of CATHERINE AN,” and repeatedly
accuses Plaintiff of being “Under Investigation for Online Impersonation of
a Physician/Solicitation of Prostitution, Theft and Fraud in Florida.”

Id. Plaintiff has never worked as a prostitute, unlawfully impersonated
anyone, or engaged in theft or fraud.

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.

Jane Doe Decl. at ¶ 46. Mr. Gipson’s personal Instagram, which operates
under the username @mark_alan_west, also tags the account
@catherine_an in a post. At least five (5) photographs and one (1) video
posted to this profile contain sexually explicit visual depictions of Plaintiff’s
uncovered genitalia, including her breasts.

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.
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Ex. 34. Mr. Gipson used this fake social media account to impersonate
Plaintiff and follow dozens of her friends, acquaintances, and coworkers.
Jane Doe

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.

Ex. 38. Mr. Gipson also “tags” people Plaintiff knows in these posts to draw
attention to what he is posting. Many of Plaintiff’s friends have reported
being “tagged” in and, ultimately, seeing this account and the
compromising pictures of Plaintiff.

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.

Jane Doe Decl. at ¶ 50–51; see also Exs. 39–43.On information and belief,
Mr. Gipson used the Instagram accounts @mark.alan.west and

@theonlyjamesman to send Plaintiff’s friend, hereafter referred to as “Ms.
Irene,” an Instagram message containing a photo of Plaintiff nude in a hot
tub engaged in sexual conduct. Jane Doe Decl. at ¶ 52; see also Exs.
44–45.

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
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and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.

This visual depiction is the same as one of the sexually explicit
photographs Mr. Gipson sent Mr. Moldt and depicts Plaintiff kneeling in a
hot tub naked, with the photographer’s hand around her throat. Id. Mr.
Gipson also told Ms. Irene that Plaintiff is a prostitute who owed him
$30,000.

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.

Additionally, Mr. Gipson posted photographs of Plaintiff on Flickr, through
accounts with the usernames @mark_alan_gipson and @mark-alan-gipson.

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.

Jane Doe Decl. at ¶ 48; see also Exs. 35–36. Mr. Gipson also posted
provocative photographs of Plaintiff on his personal Instagram under the
username @mark_alan_gipson, with various captions reading “she is
unattractive on the inside” and “Florida Sex Industry Worker.” Jane Doe
Decl. at ¶
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This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.

49; see also Ex. 37. Mr. Gipson continues to wield his control of Plaintiff’s
sexually explicit material as a weapon against her. Jane Doe Decl. at ¶¶
53–55.

1. Respect for First Amendment Rights

As a photographer, I understand the profound importance of free speech
and expression, a tenet safeguarded by the First Amendment. The U.S.
Supreme Court's decision in Joseph Burstyn, Inc v. Wilson (1952) reaffirmed
this principle by including artistic expression within the ambit of protected
speech. Consequently, limiting my ability to display or disclose my
photography impinges on my constitutional rights.

2. Recognition of Copyright Laws

In accordance with the Digital Millennium Copyright Act (DMCA), I maintain
the copyright to all images I create, unless explicitly transferred through a
contractual agreement. It has been made clear in Section 106 of the
Copyright Act that copyright owners possess exclusive rights to display and
distribute their works. The injunction sought would violate these exclusive
rights.

3. Validity of Model Release and US Form 2257

The plaintiff's consent to the creation, use, and distribution of these images
is evidenced by her signature on an Adult Model Release Form and US
Form 2257. Legal precedence in Dyer v. Napier (2007) suggests that such
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releases are legally binding, and any attempt to rescind this consent
retrospectively should be viewed skeptically.

4. Absence of Expectation of Privacy in Public Spaces

The plaintiff's request for a restraining order also covers images taken in
public spaces, where privacy expectations do not generally apply. In the
landmark case of Nussenzweig v. diCorcia (2006), the court ruled in favor of
a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

On February 14, 2023, Mr. Gipson denied Plaintiff’s request to delete the
fake Instagram profile and bragged that “all nude and sexually explicit
videos of [Plaintiff] are available on 18+ websites under an alias name.”

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows.

Jane Doe Decl. at ¶ 53; see also Ex. 46. On February 17, 2023, Mr. Gipson
then told Plaintiff he would delete her sexually explicit material only if she
agreed to go to Tulum with him. Jane Doe Decl. ¶ at 54; see also Ex. 47.

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
that her dishonest, untrue and false claims, represent defamation in the
most serious, damaging and malicious form possible, as the irrefutable
digitally preserved, true and accurate evidence shows. Note that the
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Plaintiff had been paid $1,500 in model fees specifically to go with me to
Tulum Mexico in Dec. of 2022.

On February 20, 2023, Mr. Gipson again bragged about “how much money
[Plaintiff has] already made [him]” and thanked her for being a “good
investment.”


1. Respect for First Amendment Rights

As a photographer, I understand the profound importance of free speech
and expression, a tenet safeguarded by the First Amendment. The U.S.
Supreme Court's decision in Joseph Burstyn, Inc v. Wilson (1952) reaffirmed
this principle by including artistic expression within the ambit of protected
speech. Consequently, limiting my ability to display or disclose my
photography impinges on my constitutional rights.

2. Recognition of Copyright Laws

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4. Absence of Expectation of Privacy in Public Spaces
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public spaces, where privacy expectations do not generally apply. In the
landmark case of Nussenzweig v. diCorcia (2006), the court ruled in favor of
a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

See id. On March 17, 2023, Mr. Gipson emailed Plaintiff saying he would
“agree to delete the fan account on [Instagram]” if plaintiff would “talk on
the phone for 5-10 mins” with him. Jane Doe Decl. at

¶ 55; see also Ex. 48. On March 24, 2023, Mr. Gipson emailed Plaintiff again
asking if there is anything he could do to “fix the bad blood between
[them].” Jane Doe Decl. at ¶ 55, see also

Ex. 49. As of the date of this filing, Mr. Gipson retains control over Plaintiff’s
sexually explicit photographs and videos and has not taken down the fake
Instagram account impersonating her.

This statement is not true and is intentionally defamatory, and in my
opinion, the Plaintiff JANE DOE, should be charged for committing perjury
and intentionally making false statements under oath, based on the fact
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IV. LEGAL STANDARD
A party seeking a TRO or a preliminary injunction must establish four
equitable factors:

“(1) a substantial likelihood of success on the merits;
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false claims, represent defamation in the most serious, damaging and
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(2) a substantial threat of irreparable injury if the injunction is not issued;

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is evidenced by her signature on an Adult Model Release Form and US
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releases are legally binding, and any attempt to rescind this consent
retrospectively should be viewed skeptically.

4. Absence of Expectation of Privacy in Public Spaces

The plaintiff's request for a restraining order also covers images taken in
public spaces, where privacy expectations do not generally apply. In the
landmark case of Nussenzweig v. diCorcia (2006), the court ruled in favor of
a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

(3) the threatened injury if the injunction is denied outweighs any
that will result if the injunction is granted; and

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false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

(4) the grant of the injunction will not dis-serve the public interest.

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a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

” Janvey v. Alguire, 647 F.3d 585, 595 (5th Cir. 2011); Winter v. Nat. Res.
Def.Council, Inc., 555 U.S. 7, 20 (2008). No single factor is controlling and a
strong showing of one factor may compensate for a weaker showing of
another. State of Tex. v. Seatrain Int'l, S. A., 518 F.2d 175, 180 (5th Cir. 1975)
(“[N]one of the four prerequisites has a fixed quantitative value.
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Rather, a sliding scale is utilized, which takes into account the intensity of
each in a given calculus.”). Case 1:23-cv-00463-RP Document 12 *SEALED*
Filed 04/25/23 Page 12 of and Plaintiff has in no way benefitted from Mr.
Gipson’s wrongful disclosure of such images.

Instead, Mr. Gipson maliciously used the dissemination of Plaintiff’s illicit
photos to

(i) intimidate and punish Plaintiff for not maintaining a relationship;

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false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

(ii) attempt to extort Plaintiff into paying Mr. Gipson large sums of money;
and

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false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

(iii) profit off of Plaintiff’s private images.

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and expression, a tenet safeguarded by the First Amendment. The U.S.
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2. Recognition of Copyright Laws

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landmark case of Nussenzweig v. diCorcia (2006), the court ruled in favor of
a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

Jane Doe Decl. at ¶¶ 20–24, 26–41, 50–55; see also Exs. 3–9, 12–31,
38–49. Furthermore, the intimate visual depictions of Plaintiff were not a
matter of public concern or public interest.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.
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Moreover, Mr. Gipson sent the intimate visual depictions directly to
Plaintiff’s friends and coworkers with the stated intent of humiliating
Plaintiff and ruining her reputation.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

Jane Doe Decl. at ¶¶ 37–38; see also Exs. 38–45. Therefore, these
disclosures were not made in good faith to law enforcement; as part of a
legal proceeding; as part of medical education, diagnosis, or treatment; or
in the reporting or investigation of unlawful content or unwelcome content.

This statement is not true based on the facts, the evidence shows that
these were done in an effort to investigate unlawful content and were
reported to law enforcement.

Mr. Gipson’s disclosure of Plaintiff’s intimate visual disclosures meet all of
the requirements of § 6851.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

Accordingly, Plaintiff has established a substantial likelihood of success on
the merits for her § 6851 claims against Mr. Gipson.

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false claims, represent defamation in the most serious, damaging and
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accurate evidence shows.
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2. Tex Civ. Prac. & Rem. Code § 98B: Liability for Unlawful Disclosure or
Promotion of Certain Intimate Visual Material
Under §98B, a defendant will be held liable if:

(1) The defendant discloses the intimate visual material of a person
without the effective consent of the depicted person and with the intent to
harm that person;

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

(2) at the time of the disclosure, the defendant knows or has reason to
believe that the intimate visual material was obtained by the defendant or
created under circumstances in which the depicted person had a
reasonable expectation that the material would remain private;

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

(3) the disclosure of the intimate visual material causes harm to the
depicted person; and

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false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.
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(4) the disclosure of the intimate visual material reveals the identity of the
depicted person in any manner.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

Tex Civ. Prac. & Rem. Code § 98B.002. “Intimate visual material” is visual
material that depicts a person “(a) with the person’s intimate parts
exposed; or (b) engaged in sexual Case 1:23-cv-00463-RP Document 12
*SEALED* Filed 04/25/23 Page 16 of 27 13 conduct.” Tex Civ. Prac. & Rem.
Code § 98B.001. “Intimate parts” means the naked genitals, pubic area,
anus, buttocks, or female nipple of a person. Id. (adopting the Tex. Penal
Code § 21.16 definition of “intimate parts”); see Tex. Penal Code § 21.16.
Plaintiff is also substantially likely to succeed on her claims under Tex Civ.
Prac. & Rem. Code § 98B because all four elements are clearly satisfied. a.
Mr. Gipson Disclosed Plaintiff’s Intimate Visual Material Without Her
Consent First, Mr. Gipson disclosed Plaintiff’s intimate visual material on at
least twelve (12) occasions. See supra pp. 10–11 (discussing how each
disclosure of Plaintiff’s intimate visual material depicted her buttocks,
uncovered breasts, and/or uncovered nipple); see also Exs. 22, 34, 44.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

Second, Mr. Gipson had actual knowledge that Plaintiff did not consent to
these disclosures.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
      Case 1:23-cv-00463-RP Document 43 Filed 06/14/23 Page 54 of 107




malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

See supra pp. 11–12 (explaining how Plaintiff explicitly, and repeatedly, told
Mr. Gipson that he did not have her consent to disclose her intimate visual
material); see also Ex. 2.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

Finally, Mr. Gipson openly bragged that he intended for these disclosures to
harm Plaintiff. See supra pp. 12–13 (discussing how Mr. Gipson repeatedly
stated his intent was to humiliate Plaintiff and ruin her reputation); see also
Exs. 3–9, 12–31, 38–49.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

Mr. Gipson further demonstrated this intent with the malicious messages
accompanying each disclosure of Plaintiff’s intimate visual material.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

For example, Mr. Gipson told Mr. Moldt that he was “really going to enjoy
exposing [Plaintiff]” and bragged that Plaintiff had “literally ruined her
future.” See Ex. 21.
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This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

Likewise, Mr. Gipson told Ms. Irene that “it’s only going to get worse for
[Plaintiff] unless she resolves her issues with me.”

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

See Ex. 45. Additionally, Mr. Gipson posted at least 73 captions to the
Instagram account impersonating Plaintiff falsely stating “[Plaintiff] Under
Investigation for Online Impersonation of a Physician / Solicitation of
Prostitution, Theft and Fraud” or offering “a $250,000 reward for the arrest
and prosecution of [Plaintiff].” See Ex 33.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

There is no question that these disclosures were part of Mr. Gipson’s
campaign to humiliate Plaintiff, destroy her personal and professional
reputation, and inflict serious mental and emotional distress.

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false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
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b. Mr. Gipson Knew That Plaintiff Had a Reasonable Expectation
That This Material Would Remain Private At the time of each disclosure, Mr.
Gipson knew that Plaintiff’s intimate visual material was created under
circumstances where Plaintiff had a reasonable expectation that the
material would remain private.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

Mr. Gipson verbally promised that any photographs taken of Plaintiff would
be for their personal use only. Jane Doe Decl.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

Plaintiff allowed Mr. Gipson to take sexually explicit photographs of her
only because of her understanding that Mr. Gipson would not disclose the
sexually explicit material to any other person. Id. at ¶¶ 4–5.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
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Therefore, Mr. Gipson knew that the intimate visual materials were created
under circumstances where Plaintiff had a reasonable expectation that the
material would remain private.
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This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
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c. Mr. Gipson Caused Harm to Plaintiff

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

Mr. Gipson’s intentional disclosure of Plaintiff’s intimate visual material is
presumptively harmful.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
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accurate evidence shows.

As one Texas court noted, “[v] violations of sexual privacy are intrinsically
harmful because sex is inherently private. The consequences of violations
of sexual privacy can be serious and include harassment, job loss, and
suicide.” Ex parte Jones, No. PD-0552-18, 2021 WL 2126172, at *7, *15
(Tex. Crim. App. May 26, 2021), reh'g denied (July 28, 2021) (upholding the
constitutionality of Texas’ criminal “revenge porn” statute and
acknowledging “the intrinsic harm from violations of bodily and sexual
privacy”).

1. Respect for First Amendment Rights

As a photographer, I understand the profound importance of free speech
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Supreme Court's decision in Joseph Burstyn, Inc v. Wilson (1952) reaffirmed
      Case 1:23-cv-00463-RP Document 43 Filed 06/14/23 Page 58 of 107




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4. Absence of Expectation of Privacy in Public Spaces

The plaintiff's request for a restraining order also covers images taken in
public spaces, where privacy expectations do not generally apply. In the
landmark case of Nussenzweig v. diCorcia (2006), the court ruled in favor of
a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

Thus, theTexas legislature passed “revenge porn” laws to protect victims
from the severity of theseharms. Id. at *7 (“Victims of revenge porn cannot
counterspeak their way out of a violation of their most private affairs and
bodily autonomy nor the serious harms that may accompany that
violation.”).
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Here, Plaintiff experienced emotional and physical harm as a result of Mr.
Gipson’s actions. Plaintiff has suffered loss of sleep, loss of appetite, guilt,
public shame, humiliation, depression, anxiety and despair. Jane Doe Decl.
at ¶ 56.

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public spaces, where privacy expectations do not generally apply. In the
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landmark case of Nussenzweig v. diCorcia (2006), the court ruled in favor of
a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

Plaintiff’s former roommate recognized the “physical and emotional toll” of
this “traumatic experience” on Plaintiff, and witnessed “[Plaintiff] constantly
crying and barely able to sleep.” Stevens Decl. at ¶ 13.


1. Respect for First Amendment Rights

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In accordance with the Digital Millennium Copyright Act (DMCA), I maintain
the copyright to all images I create, unless explicitly transferred through a
contractual agreement. It has been made clear in Section 106 of the
Copyright Act that copyright owners possess exclusive rights to display and
distribute their works. The injunction sought would violate these exclusive
rights.

3. Validity of Model Release and US Form 2257

The plaintiff's consent to the creation, use, and distribution of these images
is evidenced by her signature on an Adult Model Release Form and US
Form 2257. Legal precedence in Dyer v. Napier (2007) suggests that such
releases are legally binding, and any attempt to rescind this consent
retrospectively should be viewed skeptically.
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4. Absence of Expectation of Privacy in Public Spaces

The plaintiff's request for a restraining order also covers images taken in
public spaces, where privacy expectations do not generally apply. In the
landmark case of Nussenzweig v. diCorcia (2006), the court ruled in favor of
a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

The cruel disclosure of Plaintiff’s intimate visual material made her “fe[el]
helpless” and drove Plaintiff to move out and isolate herself. Id.; Jane Doe
Decl. at ¶ 43, 56. Additionally, Mr. Gipson’s disclosures irreparably harmed
Plaintiff’s reputation.

1. Respect for First Amendment Rights

As a photographer, I understand the profound importance of free speech
and expression, a tenet safeguarded by the First Amendment. The U.S.
Supreme Court's decision in Joseph Burstyn, Inc v. Wilson (1952) reaffirmed
this principle by including artistic expression within the ambit of protected
speech. Consequently, limiting my ability to display or disclose my
photography impinges on my constitutional rights.

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landmark case of Nussenzweig v. diCorcia (2006), the court ruled in favor of
a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

The Instagram account impersonating the Plaintiff is available for public
viewing, and Mr. Gipson has followed dozens of Plaintiff’s friends and
coworkers.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

See Ex. 38. Mr. Gipson frequently “tagged” the social media accounts of
Plaintiff’s friends, acquaintances, and coworkers to draw attention to what
he is posting. Jane Doe Decl. at ¶¶ 50–52; see also Exs. 33, 38–43.

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The public disclosure of Plaintiff’s intimate visual materials to an
indeterminable number of people has, and will continue to, harm her
reputation.

Mr. Gipson’s Disclosures Reveal Plaintiff’s Identity. Not only do the intimate
visual materials clearly depict Plaintiff’s face and distinctive tattoos, but Mr.
Gipson directly identifies Plaintiff by name in each disclosure. See supra p.
11; see also Exs. 22, 34, 44. Thus, Mr. Gipson’s disclosures revealed
Plaintiff’s identity. See suprap. 11.

B. PLAINTIFF WILL CONTINUE TO SUFFER IRREPARABLE HARM IF MR.
GIPSON IS NOT ENJOINED

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false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

To show irreparable injury, a “movant need show only a significant threat of
injury from the impending action, that the injury is imminent, and that
money damages will not fully repair the harm.” Casarez, 957 F. Supp. at
864–65 (“[I]t is not necessary to demonstrate that the harm is inevitable
and irreparable.”). But since the purpose of an injunction is to prevent future
violations, “the ultimate test . . . is whether [the] defendant’s past conduct
indicates that there is a reasonable likelihood of further violations in the
future.” Sec. & Exch. Comm'n v. Blatt, 583 F.2d 1325, 1334 (5th Cir. 1978);
see also Armstrong v. Turner Indus., Inc., 141 F.3d 554, 563 (5th Cir. 1998)
(“[T]o pursue an injunction [. . .] the [plaintiffs] must allege a likelihood of
future violations of their rights by [the defendant], not simply future effects
from past violations.”). Here, the unauthorized disclosure of Plaintiff’s
sexually explicit images is “intrinsically harmful” and causes multiple
distinct types of irreparable harm, including the aforementioned
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reputational and emotional damage. See Ex parte Jones, 2021 WL
2126172, at *7.

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a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

Monetary damages could not sufficiently mitigate or address the potential
permanent harm to Plaintiff’s reputation and emotional health.

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false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

Additionally, Plaintiff has no adequate remedy at law because, despite
Plaintiff’s continued requests that such actions cease, Mr. Gipson
continues to post Plaintiff’s sexually explicit content on a regular basis.
Jane Doe Decl. at ¶¶ 45–47, 53–54; see also Exs. 33, 46.

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a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

Since Mr. Gipson retains control of Plaintiff’s sexually explicit material and
successfully deactivated Plaintiff’s personal Instagram account, Plaintiff
has no means of even attempting to stop future disclosures. Jane Doe
Decl. at ¶ 25; see also Exs. 10–11, 47.

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false claims, represent defamation in the most serious, damaging and
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accurate evidence shows.

And as Mr. Gipson acknowledged, Plaintiff’s sexually explicit images “can’t
be deleted” from the internet—making the harm of future disclosures
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irreparable. See Ex. 24. Mr. Gipson’s unlawful disclosure of Plaintiff’s
sexually explicit photographs has and, absent an injunction, will continue to
cause Plaintiff to suffer extreme emotional distress and permanent
damage to her reputation.

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landmark case of Nussenzweig v. diCorcia (2006), the court ruled in favor of
a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

Finally, Mr. Gipson’s unlawful disclosure of Plaintiff’s intimate visual
material is part of his aggressive, false, and malicious online campaign
designed to permanently tarnish Plaintiff’s reputation and emotional
well-being. Jane Doe Decl. at ¶¶ 20–24, 26–41, 50–55; see also Exs. 3–9,
12–31, 38–49.

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a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

Importantly, Mr. Gipson has repeatedly indicated that he will not stop and
intends to continue this offensive behavior until Plaintiff gives in to his
demands.

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a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

After disclosing Plaintiff’s intimate visual materials to Mr. Moldt on
November 22, 2022, Mr. Gipson emailed Plaintiff saying “I’m going to enjoy
fucking you [] up bc you [] deserve it and I’m never gonna stop so cry all you
want, it won’t help.” See Ex. 25.
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false claims, represent defamation in the most serious, damaging and
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accurate evidence shows.

Later that same day, he told Plaintiff “I’m going to enjoy exposing you for []
the ho and thief you really are . . . that’s a promise.” See Ex. 26. And on
February 15, 2023, Mr. Gipson told Plaintiff that “all nude and sexually
explicit videos of [you] are [] available on 18+ websites under an alias
name.”

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false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

See Ex. 46. Therefore, Mr. Gipson’s past conduct indicates that “further
violations in the future” are not just reasonably likely, but a near certainty.
Armstrong, 141 F.3d at 563.

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false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

C. THE BALANCE OF HARDSHIPS FAVOR GRANTING A TRO AND/OR
PRELIMINARY INJUNCTION

Balancing the hardships requires a court to consider “the competing claims
of injury and . . . the effect on each party of the granting or withholding of
the requested relief.” Heil Trailer Int'l Co. v. Kula, 542 F. App'x 329, 336 (5th
Cir. 2013). Here, the balance of hardships tilts strongly in favor of granting
Plaintiff a TRO and/or preliminary injunction.
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The threatened harm to Plaintiff clearly outweighs any damage that the
injunction may cause Mr. Gipson because, as discussed above, the
threatened harm to Plaintiff is irreparable.

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false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

Conversely, Mr. Gipson’s inability to continue exploiting, misusing, and
disclosing Plaintiff’s intimate visual depictions will cause him no harm.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

Thus, Plaintiff’s irreparable harm outweighs Mr. Gipson’s potential reparable
injury.

This statement is not true based on the fact that her dishonest, untrue and
false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

D. A TRO AND PRELIMINARY INJUNCTION WILL SERVE THE PUBLIC
INTEREST

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Granting Plaintiff’s request for a TRO and preliminary injunction serves the
public interest because “revenge porn” claims are particularly well-suited
for injunctive remedies. §6851 permits a court to “order equitable relief,
including a temporary restraining order, a preliminary injunction, or a
permanent injunction ordering the defendant to cease display or
disclosure of the visual depiction.” § 6851(b)(3)(A)(ii).

1. Respect for First Amendment Rights

As a photographer, I understand the profound importance of free speech
and expression, a tenet safeguarded by the First Amendment. The U.S.
Supreme Court's decision in Joseph Burstyn, Inc v. Wilson (1952) reaffirmed
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4. Absence of Expectation of Privacy in Public Spaces
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The plaintiff's request for a restraining order also covers images taken in
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a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

Likewise, Tex. Civ. Prac. & Rem. Code § 98B provides that “[a] court in
which a suit is brought under this chapter, on the motion of a party, may
issue a temporary restraining order or a temporary or permanent injunction
to restrain and prevent the disclosure or promotion of intimate visual
material with respect to the person depicted in the material.” § 98B.004(a).
§ 98B also requires that a court “liberally construe[] and appl[y]” this
provision “to promote its underlying purpose to protect persons from, and
provide adequate remedies to victims of, the disclosure or promotion of
intimate visual material.” § 98B.007(a).

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a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.

Because the “interest in sexual privacy is substantial” and Plaintiff has
established a substantial likelihood of success on the merits of her
“revenge porn”claims, a TRO and preliminary injunction serves the public
interest. See Ex parte Jones, 2021 WL 2126172, at *7 (finding that the
Texas statute criminalizing “revenge porn” serves a compelling government
interest).

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expectations in public areas.

Likewise, here there is no evidence that Mr. Gipson would suffer any
damages from an injunction.

This statement is untrue. There is substantial evidence that I will suffer
damages from an injunction.

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a photographer who had taken a photograph in a public space without
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Id. In light of the clear evidence of Mr. Gipson’s “revenge porn” violations
and the lack of any legitimate interest in continuing his actions, the Court
should set the bond amount in this case at zero.
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malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

VI. CONCLUSION

Plaintiff has established a substantial likelihood of success on the merits
of her claim.

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false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

Plaintiff has suffered and will continue to suffer irreparable harm if a TRO
and injunctive relief are not granted.

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false claims, represent defamation in the most serious, damaging and
malicious form possible, as the irrefutable digitally preserved, true and
accurate evidence shows.

Due to the egregious nature of Mr. Gipson’s ongoing conduct, Plaintiff is
entitled to emergency relief to prevent the ongoing harm being caused by
Mr. Gipson’s actions.

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1. Respect for First Amendment Rights
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In accordance with the Digital Millennium Copyright Act (DMCA), I maintain
the copyright to all images I create, unless explicitly transferred through a
contractual agreement. It has been made clear in Section 106 of the
Copyright Act that copyright owners possess exclusive rights to display and
distribute their works. The injunction sought would violate these exclusive
rights.

3. Validity of Model Release and US Form 2257

The plaintiff's consent to the creation, use, and distribution of these images
is evidenced by her signature on an Adult Model Release Form and US
Form 2257. Legal precedence in Dyer v. Napier (2007) suggests that such
releases are legally binding, and any attempt to rescind this consent
retrospectively should be viewed skeptically.

4. Absence of Expectation of Privacy in Public Spaces

The plaintiff's request for a restraining order also covers images taken in
public spaces, where privacy expectations do not generally apply. In the
landmark case of Nussenzweig v. diCorcia (2006), the court ruled in favor of
a photographer who had taken a photograph in a public space without
obtaining the subject's consent, thus underscoring the lack of privacy
expectations in public areas.
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For the foregoing reasons, Jane Doe respectfully requests that a TRO be
immediately issued as requested, that Jane Doe’s motion for a preliminary
injunction be set for hearing and that, after such hearing, a preliminary
injunction as requested be issued against Mr. Gipson.

Dated: April 24, 2023 Respectfully Submitted,
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UNDER SEAL: DECLARATION OF PLAINTIFF JANE DOE

I, Plaintiff Jane Doe, declare as follows:

1.
The facts below are personally known to me and are based upon my firsthand
knowledge and on information provided to me. If called as a witness, I could and
would testify to these facts.

2.
I met Mr. Gipson, a forty-seven (47) year old white male from Austin, Texas,
approximately two years ago while getting dinner with a group of friends. At the
time, Mr. Gipson

Point of fact, I had already had sexual intercourse, and experienced most
sexual acts with the Plaintfiff in Miami Florida, years prior to inviting her to
Europe, after originally meeting her on the escort dating website seeking
arragements seeking.com under the username “Asianal Angel” EXHIBIT (A)
and seeing her escort profiles on the website “what’s your price” at
whatsyourprice.com, a popular escort / sugar baby EXHIBIT (1.2) website.

We had previously had sex at at the Verscse Mansion, in Danatellas suite, in
Danatella’s bed, was the first time (it was memerable) both times the
Plaintiff, JANE DOE asked me for $500 cash within minutes after sexual
intercourse claiming she was a professional “Sugar Baby” EXHIBIT (1.2) ,
who “only fucked rich guys” and she claimed that the $500 cash payment
she demanded was for “her time” and then the Plaitfiff, JANE DOE left
within minutes after being paid $500 cash both times for “her time” and
insisted we stay in contact. EXHIBIT (1) Note that in EXHIBIT (1.2) the
Plaintiff asks me if I am still looking for a “sugar baby”

In light of these allegations, I believe it is essential for the court to consider
the credibility and potential bias of the plaintiff. Credibility is a fundamental
aspect of any legal case and is especially important when the allegations at
hand are largely based on the plaintiff's word. As such, I wish to bring to the
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court's attention that the plaintiff has a history of working as a female escort
for over 10 years and thus is an experienced criminal who knows how to
avoid prosecution and essentially lies for a living, as it is often a necessity
in the sex industry to lie to customers in order to get paid.

While I understand that a person's profession, in and of itself, does not
necessarily undermine their credibility, I believe that in this case, it is a
relevant fact. It is my understanding that the plaintiff has avoided disclosing
this information, likely due to the illegal nature of sex work and the potential
for it to impact her credibility.

However, I firmly believe that the complete portrayal of facts is crucial for
the court to make a fair and unbiased judgment. This is not an attempt to
embarrass or defame or assassinate the character of the plaintiff, but rather
to ensure that the court has a comprehensive understanding of the
situation.

I am aware that the introduction of such potentially damaging information
about the plaintiff must be handled with the utmost care and respect for the
dignity of all parties involved. I assure the court that my intention is solely to
present an accurate and complete picture of the circumstances surrounding
this case.

I respectfully request that the court take this information into consideration
when assessing the credibility of the plaintiff's statements and the
allegations made against me and reference the true and accurate evidence
presented in EXHIBITS (57-73)

was dating another woman named Ni Pham (hereafter “Ms. Pham”).

Point of fact, Ni Pham refused to collaborate with the Plaintiff regarding the
Plaintiff's request for Ms. Pham to LIE and say that I raped her too. Note that in
EXHIBIT (189) Ms. Pham states “I am not going to lie about rape” , “I know
you would not hit anyone” , “You are nice” “Defenantly sucks that she [the
Plaitfiff] is lying about the situation”
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Over the next two years, Mr. Gipson and I stayed in contact through social media.

On a number of occasions, Mr. Gipson asked me if I would join him on vacation
abroad, offering to pay for all expenses and to deal with travel logistics, such as
paying for my passport and personal bills so I could afford to miss work.

Because Mr. Gipson had appeared sincere, and because I wanted to celebrate
completing my master’s degree, I eventually agreed to go on a trip to Europe with
him.

On October 18, 2022, Mr. Gipson and I traveled to Amsterdam.

The trip started off normal, but eventually took a turn for the worse.
On October 19, 2022, while at the hotel together, Mr. Gipson obtained “designer”
drugs and requested that I take them with him.

This is untrue. I have never obtained or used or given any “designer drugs” to
anyone. To be honest I don’t know what “designer drugs” means. The only thing I
can think is I did buy her an energy drink similar to Red Bull, (Dutch version, no
illicit chemicals) as we walked around the red light district before the Plaintiff
insisted we go watch a LIVE SEX SHOW TOGETHER.

I refused to participate at first, but ultimately gave in to Mr. Gipson’s continuous
pressure. I became hazy after taking the drugs and don’t recall the rest of the night.

This is untrue. It was probably drinking alcohol along with the effects of JET LAG
and MARIJUANA that made her feel “hazy” however the Plaintiff was able to
walk home on her own, smiling and laughing. She was very aware and participated
actively in the photoshoot. EXHIBITS (84-97, 186)

The next morning, Mr. Gipson showed me photographs he had taken of me in a
bathtub. Prior to this occurrence, Mr. Gipson had asked to take pictures of me,
verbally promising that any photographs taken of me would be for our personal use
only.

This is untrue.

However, I had not given Mr. Gipson permission to take any photographs of me
that night as I was inebriated.
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This is untrue.

I immediately voiced my concerns to Mr. Gipson about him taking photographs
without my permission and expressed my concerns that he could misuse them.

This is untrue.

Mr. Gipson responded, “[i]f I do post them, sue me! I have millions.”

This is untrue.

On or about October 22, 2022, I traveled from Amsterdam to Ibiza with Mr.
Gipson.

Mr. Gipson told me that he wanted to help me build an online modeling presence
and alleged that he could help with this if I traveled around the world shooting
content with him.

True.

Because Mr. Gipson had planned all of the accommodations for our trip, I was
concerned that Mr. Gipson would retaliate and abandon me in a foreign country if I
denied his request.

Point of fact, the Plaintiff was given her return air ticket to the US prior to
departure, at any time she could have easily changed the date of her flight and
returned home. The Plaintiff never expressed any concern or hesitation about
continuing the trip.

I told Mr. Gipson that I needed time to consider his proposal because I did not want
this to negatively impact my career as an acupuncturist.

This is untrue. This Plaintiff claimed that her true intentions were to produce,
publish and promote content that would help her phase out of prostitution and
stated the she was only pursuing becoming an “acupuncturist” as a cover job, so
that her mother would continue to support her financially and her could not tell her
mom she was a prostitute so that was her explanation regarding her desire to be an
“acupuncturist”.
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While in Ibiza, I allowed Mr. Gipson to take some pictures of me on his cell phone.
I only allowed Mr. Gipson to take the photos because I was under the impression
that he would give the images to me and I would retain control over the pictures.

This statement is untrue. Note the Plaintiff iPhone was working the entire trip that I
know of EXHIBIT (109) shows the plaintiff taking selfies, while topless, smoking
marijuana, with her cell phone.

On October 24, 2022, Mr. Gipson continued to make unwanted sexual advances
towards me, including placing his hand on my butt while we were in our hotel
room.

This statement is untrue.

When I immediately moved his hand away, Mr. Gipson became visibly upset,
yelled at me, and moved to sleep in the other room.

This statement is untrue. I moved to the master suite of the Villa (not a hotel) to get
time and space away from the Plaintiff because her drug addictions and mental
health issues were bothering me.

Mr. Gipson apologized the next morning. I felt forced to accept his
apology knowing that Mr. Gipson had scheduled and paid for my travel and
lodging, but remained extremely uncomfortable with Mr. Gipson’s behavior.

This statement is untrue.

On October 25, 2022, I traveled from Ibiza to Mykonos with Mr. Gipson.

True.

Mr. Gipson had more of the “designer” drugs and pressured me into taking the
drugs with him.

This statement is untrue.

While under the influence of drugs and alcohol, I had sex with Mr. Gipson for the
first time that I can physically remember.
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This statement is untrue. We had sex several times before this and in Miami. Also
point of contention, request clarification on the meaning of “physically remember”


Mr. Gipson’s continued behavior of pressuring me into taking intoxicants made me
uncomfortable. Thus, on October 27, 2022, after speaking to my friend, Ricco
Moldt (hereafter “Mr. Moldt”), I purchased a plane ticket for him to meet me in
Amsterdam.


On October 28, 2022, Mr. Gipson and I went to a local bar for dinner and drinks.

We left the bar extremely inebriated and began walking on the beach together. Mr.
Gipson filmed multiple videos of me intoxicated on the beach.

I filmed the Plaintiff assaulting me, punching me in the penis, face and stomach.
The Plaintiff then bites my finger as I’m trying to put my jacket on her, she then
kicks me in the back of the head, rendering me unconscious.

At some point on the beach that night, Mr. Gipson could not find his bag
containing his wallet, passport, and phone.

This statement is untrue. After assaulting me violently as I lay in a beach chair
enjoying the Aegean Sea, the Plaintiff walked up behind me and again kicked me
in the face and nose with combat boots until I was again rendered unconscious, she
then continued to assault me by kicking my in the ribs with her combat boots under
she severely fractured my number 6 rib, the Plaintiff then stole my $5,000 LV bag,
containing my wallet, passport and phone and then ran off down the beach away
from me with my bag into the darkness.

I left the beach to go search for his bag, but could not find Mr. Gipson when I
returned. Without a working phone, my passport, or the address of our Airbnb,

I began to panic and started shouting Mr. Gipson’s name. After shouting for fifteen
minutes, I eventually found Mr. Gipson curled up in the sand. Frustrated and
confused as to why Mr. Gipson had not responded, I kicked Mr. Gipson once in his
buttocks area and then left so that I could continue searching for his bag.

I eventually found another man holding Mr. Gipson’s bag and managed to get it
back.
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Point of fact, the Plaintiff claimed later that this local man who “had my bag” had
sexually assaulted her on the beach. This statement was denied by our host who
witnessed the Plaintiff assaulting me.

Unable to find Mr. Gipson for a second time, I went to the local police station to
ask for help. There I discovered that Mr. Gipson had already gone to the same
police station, given them the address of our Airbnb, and was taken home by the
police officers.

This statement is untrue. I was never taken to the Police station. The police gave
me a ride because the Plaintiff had stolen my bag with the rental car keys inside.

The police took me to the Airbnb and, when I got back there, Mr. Gipson was
already waiting in bed.

This statement is true. I was asleep in bed, recovering from very serious
injuries including a fractured nose and broken rib.

I became upset that Mr. Gipson had left me alone and threatened to throw his
phone out the window.

The Plaintiff yelled that other men had abandoned her before on trips for “being
crazy.” For the record I never abandoned the Plaintiff, I was rescued by local police
who drove me back to the villa.

After I threatened to throw Mr. Gipson’s phone out the window, Mr. Gipson
became enraged and began to physically assault me.

This statement is untrue. The Plaintiff grabbed my iPhone and ran outside of the
Villa and threatened to throw it off a cliff into the ocean if I did not give her
additional money to continue the trip. Point of fact, she also stated that she would
not have sex with me if I did not give her an additional $3,000. At this point I had
no interest in continuing to have sex with the Plaintiff, so I asked her to leave my
Villa.

Mr. Gipson got up from the bed and punched me in the face.

This statement is untrue and defamatory. I NEVER punched the Plaintiff in the
face, photos from the following days show this never happened.
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Mr. Gipson had a crazed look in his eyes and continued to attack me, despite my
best efforts to resist.

This statement is untrue and defamatory, this never happened.

Mr. Gipson grabbed me by my hair, slammed my face into the ground, and sat on
my back.

This statement is untrue and defamatory, this never happened.

Mr. Gipson then placed his hands around my neck and began to choke me from
behind.

This statement is untrue and defamatory, this never happened.

Fearing for my life and believing that Mr. Gipson was going to kill me, I begged
him to stop, shouting, “Mark you’re going to kill me!”

This statement is untrue and defamatory, this never happened.

Mr. Gipson released his grip on my neck just before I ran out of air, but did not get
off of my back.

This statement is untrue and defamatory, this never happened.

I began shouting for help and Mr. Gipson told me, “I’ll give you three seconds to
get the fuck out of here before I kill you.”

This statement is untrue and defamatory, this never happened.

I pushed Mr. Gipson off of me and ran out the door crying for help.

This statement is untrue and defamatory, this never happened. I did wrap my arms
around the Plaitfiff to defend myself and protect the multi million dollar Villa we
were staying at because the Plaintiff had started destroying property, art, furniture
and heirloom antiques that had been with the host family for years, causing well
over $1,000 in property damage that I had to pay via Airbnb.
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As I was crying for help, someone from the Airbnb came outside and gave me
water to wash the blood off my face.

This statement is untrue and defamatory, this never happened. I had placed the
Plaintiff outside the Villa and told the Plaintiff she was not welcome. The host
called the Police and the same local police came back and arrested her for assault,
she was taken into custody and spent the night in the Mykonos jail. In the morning
the police returned and asked me to please allow her to fly back to Amsterdam
with me and told me that the Plaintiff had expressed that she did not remember any
of the events from the previous night.

The local police arrived and took my statement, but dismissed my claims, saying
something to the effect of “this happens a lot in Mykonos” and “this is something
you’ll be laughing about later down the road.”

This statement is untrue and defamatory, this never happened. I had placed the
Plaintiff outside the Villa and told the Plaintiff she was not welcome. The host
called the Police and the same local police came back and arrested her for assault,
she was taken into custody and spent the night in the Mykonos jail. In the morning
the police returned and asked me to please allow her to fly back to Amsterdam
with me and told me that the Plaintiff had expressed that she did not remember any
of the events from the previous night.

I told the police that I just wanted to retrieve my passport from the Airbnb and
return home.

They helped me pack my belongings at the Airbnb and took me back to the police
station, where I stayed until my flight back to Amsterdam the next day.

The local police informed me that I would have to return to Mykonos for the
resulting court hearings.

Knowing I would not be able to return, I decided not to press any charges at the
time.

While at the police station, I called my friend Mr. Moldt to explain what had
happened.

Later on October 29, 2022, Mr. Gipson emailed me with the subject line “Cat are
you safe?”
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He stated that he was “tempt[ed] to cancel [my] flights home,” but would not do so
because I found his bag that evening on the beach in Mykonos.

This statement was made in an effort to keep the peace because I truly believe the
Plaintiff does not remember taking my bag and running away with it and later
claimed that she had found it on the beach.

I told him that his attack had seriously injured me, leaving me with a swollen
tongue, bumps, and bruises on my forehead, hands, elbows, knees, and pain on my
scalp.

I told Mr. Gipson that he had hit me in the face, slammed my face on the floor, and
choked me to the point where I almost suffocated and believed I would die.

Mr. Gipson did not deny these acts and instead excused his behavior by stating,
“I’m sorry but not sure how else I could have handled that. Your temper and
violence had to be stopped and I’m sorry I hurt you.”

I did wrap my arms around the Plaintiff to defend myself and protect the multi
million dollar Villa we were staying at because the Plaintiff had started destroying
property, art, furniture and heirloom antiques that had been with the host family for
years, causing well over $1,000 in property damage that I had to pay via Airbnb.


Attached hereto as Exhibit 1 is a true and correct copy of the email message

Mr. Gipson sent me on October 29, 2022.

On October 29, 2022, I traveled back to Amsterdam without Mr. Gipson to meet
Mr. Moldt. However, during my layover in Munich, Germany, Mr. Gipson found
and approached me at the airport.

Mr. Gipson apologized to me and tried to, again, convince me that I had attacked
him, claiming that I had kicked his face and ribs while on the beach. At the time I
did not know what to believe and thought that he may be telling the truth.

Note that the Plaitiff admited to kicking me in the face and ribs but claimed that
because it was dark and she was drunk she thought she was kicking me in the
“butt” , I found this statement very difficult to believe.
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Regardless, knowing that I had no place to stay in Amsterdam, Mr. Gipson offered
to “forgive me” and let me stay at the hotel he had originally booked for us. Mr.
Gipson also offered to let Mr. Moldt stay in the room so that I would feel safe.

This statement is not true, the Plaintiff utilized the LCD defense, lie, cry, deny and
cried for 15-20 mins begging me to forgive her. It is true that I offered to let her
stay in the room with me, so that I could guarantee her safety.

I had not secured my own accommodations in Amsterdam and knew that I would
be left without a place to stay in a foreign country if I did not accept Mr. Gipson’s
offer and ultimately agreed.

This statement is not true, the plan was always for her to stay with me.

This fear led me to believe that I had no option but to share a hotel room with Mr.
Gipson.

This statement is not true, the plan was always for her to stay with me.

For the remainder of the Amsterdam trip, I felt the need to keep Mr. Gipson
content, constantly fearing additional repercussions.

The Plaintiff had her flight ticket, confirmation number and was free to leave at
any time. She stayed on her own free will.

At this point, Mr. Gipson had taken numerous nude photos of me and, after the
physical assault, I was scared to think about what Mr. Gipson would do with those
photos if I terminated our relationship.

I did exactly what I said I would do with the photos, I published them as part of my
STOP ASIAN HATE COLLECTION as fine art photography.

I was also scared that Mr. Gipson would physically attack me again or abandon me
in a foreign country.

This statement is not true, I never attacked the Plaintiff at any time.

On October 30, 2022, while in the hotel room, Mr. Gipson asked me to join him in
the shower and I refused.
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I asked the Plaintiff to join me in the shower, as she had, every night prior,
specifically help me use her make-up remover to remove the make-up the Plaintiff
had applied to my face because she said she was embarrassed to see face black
eyes, cuts and deep purple bruises on my face.

While Mr. Gipson was in the shower, I told Mr. Moldt that I thought
Mr. Gipson had poor personal hygiene.

I admit I did wear a dirty shirt, blue jeans and smelly dirty socks to bed that night
in hopes of preventing the Plaintiff from initiating make up sex because I was not
interested in having sex with her at that time.

I woke up the next morning to Mr. Gipson sexually assaulting me by touching my
vagina with his hand. I told him, “NO!,” pushed him off of me, and wrapped
myself tightly in the blankets to try and shut him out.

This statement is untrue. The Hilton Hotel Amsterdam only offers small twin beds,
as do most hotels in Europe. We were sleeping together on a bed approximately 4ft
wide and because my rib was broken I was forced to sleep on my side and “spoon”
the Plaintiff. I never placed my hand on the Plaintiff's vagina that morning.

Mr. Gipson packed his things and left the room.

True. I had no interest in being around the Plaintiff so I went downstairs to the
lobby to call a friend and have breakfast.


Later that day, I saw Mr. Gipson downstairs in the hotel lobby as I was leaving for
the airport to catch my return flight to Philadelphia, Pennsylvania.

 I asked Mr. Gipson why he left the hotel room and he said he overheard me
complaining about his personal hygiene to Mr. Moldt.

I found this humorous because I had in fact tried to smell as bad as possible on
purpose.

Mr. Gipson accused Mr. Moldt of telling me that “[I] wasn’t getting paid enough
for this.” He also claimed that when “[he] woke up and tried to cuddle [me]”
earlier that morning I had called him disgusting.
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Point of fact the Plaitfiff said I smelled disgusting, she did not call me disgusting.

Although angry with me, Mr. Gipson asked me to share a car with him to the
airport, and, reluctantly, I agreed.

This is true, although I was very angry because of the assault, I still invited the
Plaintiff to ride in my Uber to the Airport so that I could continue to protect the
Plaintiff until she returned to the United States, because I had given her my word
that I would keep her safe and I keep my promises.

Fearing what Mr. Gipson would do with the nude photographs, I agreed to
complete the return trip peacefully and hoped to let my relationship with Mr.
Gipson naturally grow apart.

This statement is not true. Upon returning the Plaintiff agreed to continue traveling
to Tulum Mexico after we take a one month break that I insisted on. She requested
and was paid $1,500 for “Model Fees for Mexico” on November 7, 2022 and
agreed to continue working with me to make explicit content. EXHIBIT (75)

Upon landing in Philadelphia, Mr. Gipson asked if he could come stay with me at
my home in Miami, Florida.

This statement is not true.

I said no and told Mr. Gipson that we should have time apart. Mr. Gipson then
asked me to stay with him at a 5-star hotel in Miami so he could take more
photographs of me.

This statement is not true.

I refused and again asked Mr. Gipson for the photographs he had already taken of
me. Mr. Gipson refused to give me my photographs because he had “offered me
another chance” to “make it up to [him]” by allowing him to stay with me in
Miami, and I said no.

This statement is not true.

I told Mr. Gipson that, at the least, I wanted the nude photographs of me, but he
responded saying that my nude photographs belonged to him.
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True.

I had no contact with Mr. Gipson until November 7, 2022, when Mr. Gipson sent
me a text message.

True.

He told me that he hoped we could “overlook our past and focus on what’s next.” I
told him that I was upset he continued to take nude pictures of me and refused to
give me any of them.

This statement is not true.

I explicitly directed him not to post the nude photos anywhere, “not on [his]
Instagram or even sending my pictures to someone.”

True.

Exhibit 2 is a true and correct copy of text message Mr. Gipson sent me on
November 7, 2022.

Later on November 10, 2022, Mr. Gipson sent me multiple text messages asking
me to “answer [his calls] and talk.”

Mr. Gipson told me that he would delete my nude photographs only if I sent him
$5,000.

This statement is not true. I offered the Plaintiff an opportunity to REFUND me the
$5,000 she had already been paid in MODEL FEES.

Attached hereto as Exhibit 3 is a true and correct copy of text message

Mr. Gipson sent me on November 10, 2022.

Mr. Gipson became very angry when I refused to answer his text messages.

Between November 10, 2022 and November 11, 2022, Mr. Gipson sent me over
fifteen (15) abusive text messages, emails, and voicemails. He repeatedly
threatened to make public nude photographs of me and post harmful, false, and
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misleading information about me online. Mr. Gipson told me that I should Google
my name in order to read a fake escort review he posted about me and bragged that
he was enjoying “warning” people about me because I am an “awful ugly cunt of a
person.” Mr. Gipson repeatedly called me a thief, prostitute, sex industry worker,
“dumb bitch,” and told me to “rot in hell whore.” Attached hereto as Exhibit 4
is a true and correct copy of text messages Mr. Gipson sent me on November 10,
2022.

Note that this was after the Plaintiff had refused to refund me the $1,500 she had
been paid in advance for our next trip to Tulum Mexico

On November 10, 2022, I received a voicemail in which Mr. Gipson told me that
he would not delete the sexually explicit photos of me and threatened that I should
“think about [my] safety.”

This statement is not true.

Attached hereto as Exhibit 5 is a true and correct audio file and transcript of the

voicemail from Mr. Gipson on November 10, 2022.

On November 10, 2022, Mr. Gipson told me that my mom would be “so proud”
about the information he would post online. Mr. Gipson also repeatedly told me
that he would not delete the nude photographs of me and that he would post and
distribute them without my consent.

In addition to other specific threats, Mr. Gipson repeatedly threatened me to “act
accordingly” or that he would make me regret disrespecting him.

This statement is not true and is a gross misrepresentation of the facts and
evidence.

Attached hereto as Exhibits 6–8 are true and correct copies of the emails Mr.
Gipson sent me on November 10, 2022.

On November 11, 2022, Mr. Gipson called me a “thief” and told me that I “gave
[him] no other options.” He told me that even if I was successful in suing him, I
would get nothing because his crypto assets are untouchable.

True.
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Attached hereto as Exhibit 9 is a true and correct copy of the email Mr. Gipson sent
me on November 11, 2022.

On November 12, 2022, Mr. Gipson made a false copyright report against my
personal Instagram account resulting in its permanent deletion. I appealed this
decision directly to Instagram, and informed them that Mr. Gipson was wrongfully
in possession of my sexually explicit images and had been stalking me.

This statement is not true and is a gross misrepresentation of the facts and
evidence.

Instagram did not reactivate my account, and instead told me that I would need to
contact Mr. Gipson directly to resolve the issue.

Point of fact, the Plaintiff's Instagram account was deleted by Instagram for
SOLICITATION OF PROSTITUTION not for violating my copyright ownership.

Attached hereto as Exhibits 10–11 are true and correct copies of my email chain
with Instagram.

On November 12, 2022, Mr. Moldt informed me that Mr. Gipson had sent him
threatening text messages. Mr. Moldt forwarded me screenshots of their
conversation and informed me that Mr. Gipson admitted to accessing my iCloud
account without my consent.

This statement is not true and is a gross misrepresentation of the facts and
evidence. The Plaintiff openly shared her iCloud photos, bragging that she had a
“Sugar Daddy in every city in the US” and proceeded to show me hundreds of
prostitution profiles, where she had removed her tattoos and used alias names on
both seeking.com and whatsyourprice.com, these are popular escort / prostitution /
sugar baby dating websites that replace Backpage.com after the US federal
government shut it down.

Mr. Gipson also admitted to using that information to track my phone location. I
have never given 90%


See: Explanation for Actions Taken to Initiate Legal Proceedings
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6) Counter Motion for a Temporary Restraining Order and Protective
Injunctive Order Against the Plaintiff JANE DOE




Honorable Judge Pitman,

I, Mark Alan Gipson, the Defendant in this case, present this counter
motion for a temporary restraining order and protective injunctive order
against the Plaintiff based on the considerations outlined below. I
respectfully bring forth my case, grounded on the foundations of truth,
jurisdiction, and explicit consent, and request your honor to consider the
following assertions:

  1. TRUTH AND CONSENT: The Plaintiff has willingly engaged in
     employment as an adult entertainer and online content creator in the
     adult industry, seeking my assistance in transitioning from in-person
     encounters to digital content creation. I categorically deny allegations
     of non-consensual photography or sexual misconduct, as all content
     was created with the explicit consent of the Plaintiff, with clear
     understanding and agreement on the nature of the content. This
     consent not only serves as a legal safeguard but also highlights a
     crucial aspect of professional conduct in the adult industry.
     References to consensual content creation can be found in cases
     such as Doe v. Moe, 63 Mass. App. Ct. 516 (2005), where the court
     ruled that consensual sexual activity does not automatically convert
     into non-consensual activity upon the presence of a camera.
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2. JURISDICTION: Events that form the basis of this lawsuit occurred
   outside the United States, thus raising pertinent questions about
   jurisdiction and applicable law. The U.S. Supreme Court, in the case
   of Kiobel v. Royal Dutch Petroleum, 569 U.S. 108 (2013), underscored
   the principle that laws do not extend beyond our national borders
   unless explicitly stated. Given the circumstances of this case, it
   would be prudent to consider the jurisdictional implications.



3. COUNTER EVIDENCE: I assert that all sexual activities between
   myself and the Plaintiff were entirely consensual. No explicit sex acts
   were ever filmed, recorded, or published. The audio and visual content
   we created was non-explicit, further strengthening my stance against
   any allegations of sexual misconduct. Furthermore, evidence
   including flight tickets, emergency funds, and substantial modeling
   fees provided to the Plaintiff highlight her voluntary participation and
   ability to cease involvement at any point.



4. DEFAMATION AND RETALIATION: Following the Plaintiff's account
   suspension from Instagram for solicitation of prostitution and her
   subsequent legal confrontations, the allegations of sexual
   misconduct were made, raising concerns of retaliation and an
   attempt to deflect attention. In the landmark case of New York Times
   Co. v. Sullivan, 376 U.S. 254 (1964), the Supreme Court established
   the 'actual malice' standard, asserting that false accusations with
   harmful intent fall outside the protection of the First Amendment. In
   light of this, the allegations leveled against me appear to be intended
   to harm my reputation, reflecting an instance of defamation.
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   5. PERSONAL SAFETY AND MENTAL HEALTH: Finally, I would like to
      highlight the instances of physical harm and emotional distress I
      experienced due to the Plaintiff's extreme, non-consensual
      dominance, documented in non-consensual photographs taken by the
      Plaintiff herself. The U.S. Constitution and state laws have
      consistently affirmed the right to personal safety and the pursuit of
      happiness (see DeShaney v. Winnebago County, 489 U.S. 189 (1989)),
      indicating that these actions infringe upon my constitutional rights. It
      is critical to ensure that I am not further victimized.

Given the aforementioned points, it is my plea to this court that the
injunction be placed against the Plaintiff, rather than myself, and that my
rights to safety, freedom of expression, and Constitutional rights be upheld.


As a pro se defendant, I am writing to address the allegations made against
me by the plaintiff, [Plaintiff’s Name], in the case at hand. It is my intent to
present a full and accurate account of the circumstances that I believe are
crucial to understand the nature of these allegations.

The plaintiff, [Plaintiff’s Name], works in the sex industry, and is known for
her roles as a “FINDOM” a.k.a. “Financial Dominance” and a “dominatrix.”
While I acknowledge that her profession does not inherently discredit her
allegations, it is important to consider the implications it has on our
interactions. During our shared intimate moments, there have been
instances where her actions have resulted in physical harm to me, this was
due to her extreme and non-consensual dominance, even after my explicit
protests and pleas for her to stop.

Furthermore, the plaintiff [Plaintiff’s Name], has demonstrated a particular
interest in the humiliation and abuse of men by women in adult content. It is
my belief that these preferences have influenced her actions towards me
and have served as a motivation behind the fabrication of the allegations
she now brings forth. I further assert that the Plaintiff has misused the
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United States legal system in an attempt to cause law enforcement to
violently arrest me to satisfy her on deeply disturbing sexual fetishes
involving public humiliation of men. The Plaintiff referenced “Daddy Issues”
as her excuse for her lack of integrity and criminal behavior on several
occasions and proudly pointed to her “DANGEROUSLY DESTRUCTIVE”
tattoo under her left breast as a “warning label” of her “destructive powers.”

Regarding explicit photographs taken during our trip to Mykonos, Greece,
by the Plaintiff, I wish to clarify that these were taken without my explicit
consent and have caused me significant emotional distress. The plaintiff
[Plaintiff’s Name], took advantage of our shared intimate moments to
photograph non-consensual sex acts, which I believe were done solely for
the purpose of future extortion and humiliation in an attempt to satisfy the
Plaintiff’s disturbing sexual fetishes related to the public humiliation of men.

I am presenting these facts not to defame the plaintiff or to detract from the
seriousness of the allegations made against me, but to provide the court
with the necessary context to evaluate the credibility and motivation of the
plaintiff, [Plaintiff’s Name].

Continuing from my previous letter, I would like to bring your attention to
another concerning incident involving explicit photographs taken without my
consent.

Among the intimate photos taken during our time in Mykonos, Greece, are
images that depict non-consensual actions involving the plaintiff forcing her
foot into my mouth. These photographs were taken without my knowledge
or permission, (note that my eyes were closed during the moment of
penetration) further demonstrating the plaintiff's disregard for my
boundaries and consent.

In the photograph(s) EXHIBIT (1) NON CONSENSUAL SEXUALY EXPLCIT
PHOTOS TAKEN BY THE PLAINTIFF SHOWING NON CONSENSUAL
SEXUAL PENETRATION you can clearly see the Plaintiff [Plaintiff’s Name],
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place her foot on my chin and force my mouth open, she then violently
shoved all her toes, and half of her foot into my mouth.

This non consensual sex act was done with such force and aggressiveness
that I was not able to vocalize my non consent, rather the noise just
sounded like “Naaaaaaaawww” and “Stuuuuuuuppp” because she was
sticking her foot down my throat so hard that is was difficult to breath or
talk.

It was a humiliating and traumatizing experience and something I will
never be able to forget, especially the sound of the Plaintiff laughing
at my obvious discomfort.

Had I been the one to enact such an act and capture it in a photograph
without consent, it would be rightly viewed as an infringement upon the
plaintiff's [Plaintiff’s Name], rights.

As such, I believe it is only fair that the same standards apply in this
situation, where I was the one subjected to non-consensual sexual actions
and intimate photography.

The act itself was not only deeply uncomfortable and humiliating, but it also
resulted in emotional distress upon discovering the existence of such
photographs. These actions further demonstrate the plaintiff's [Plaintiff’s
Name], pattern of dominance and control, extending beyond the physical
realm into the manipulation of our shared experiences for her own
purposes.

I was deeply disturbed by the plaintiff's [Plaintiff’s Name], actions and am
sharing these details not to cause defamation, but to provide the court with
a clearer understanding of the circumstances surrounding our relationship
and the allegations made against me.

The allegations made against me have had a profound impact on my
mental and emotional well-being, causing severe stress and anxiety. It is
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my hope that the court takes into account the dynamics of our past
relationship and the plaintiff's possible motivations in evaluating the validity
of her claims.

I, Mark Alan Gipson, deny any and all allegations of sexual misconduct,
non-consensual photography, or illegal drug use. I further deny any
association with certain Instagram accounts that are allegedly linked to the
plaintiff's image distribution.

I present affirmative defenses, including truth, jurisdiction, and consent,
arguing that the plaintiff was aware of the nature of the photography, had
given her consent in writing, and that the events that are the basis for this
lawsuit did not occur within the United States.

The Plaintiff [Plaintiff’s Name], was very upfront and honest with me about
working as both an “all nude stripper in Miami” and as a “Sugar Baby” or
paid escort on seeking .com and what’s your price .com and asked me to
help her make adult content to help her phase away from prostitution and
into making money online with adult content, in addition to the collection I
was working on at the time.

I had prior permission and consent to produce, publish and promote
all content that was created.

To clarify the photography and videos I produced, published and promoted
showed no sex acts or pornography of any kind. As to the Plaintiff’s
[Plaintiff’s Name], claims that she was stuck or somehow being forced to
travel with me, I strongly disagree and find this difficult to believe. I would
also like to point out the fact that the Plaintiff [Plaintiff’s Name], was given
both her flight from Miami to Amsterdam and she was given her RETURN
flight from Amsterdam to Miami PRIOR to departing Miami. So she could
have taken her flight home at anytime, and at no time did the Plaintiff
[Plaintiff’s Name], ever vocalize, text or in any way communicate that she
wanted to leave early or was being “forced” to do anything so I deny the
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untrue statement provided by the Plaintiff regarding being stuck or forced to
travel with me.

Furthermore I would be remiss if I did not add that I had given the Plaintiff
[Plaintiff’s Name], 300 Euro for Emergencies, like, medical, and
transportation, that she could have used at anytime to get a flight back to
Amsterdam from anywhere within Europe for less than $100USD.

I would also like to point out that the Plaintiff [Plaintiff’s Name], was paid
$4,200 upfront in MODEL FEES so she had funds to travel home at any
time. It is my understanding that the Plaintiff [Plaintiff’s Name], used the
emergency money I had given her to buy cocaine from “a girl she met in
the bathroom from Columbia” at a nightclub in Ibiza.

Admittedly we did have sex and in general, I would describe the sexual part
of our relationship as mutually pleasant, shared sexual experiences, in
world class locations, in world class accommodations, with beautiful world
class views and at no time during the trip did the Plaintiff [Plaintiff’s Name],
ever voice any concerns or questions regarding ANY KIND of non
consensual sexual activity or sexual misconduct. I admit, I did have sex,
with the Plaintiff, [Plaintiff’s Name], including consensual sexual intercourse
many times, mutual oral sex many times, and mutual orgasim many times,
including giving the Plaintiff [Plaintiff’s Name], what she referred to as
multiple “squirting orgasims” with my hands, at her request, in addition to
kissing and other normal intimacy such as hugging, cuddling in bed after
sex and holding hands and kissing in public and private throughout the trip.

It is my belief and understanding that all sexual activity was mutually
consensual and at no time were any explicit sex acts filmed or
recorded or published.

As a matter of fact, it was often the Plaintiff [Plaintiff’s Name], who offered
to have sex and the Plaintiff who requested and initiated sex throughout the
entirety of the trip. Note the Plaintiff stated that she was especially turned
on by having sex outdoors, so that also happened on many occasions.
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Any allegations of sexual misconduct were only mentioned months later,
after the Plaintiff’s [Plaintiff’s Name], realized her Instagram account had
been permanently deleted for SOLICITATION OF PROSTITUTION, and
she had been reported to the Florida Dept of Health and New York State
Health Dept for knowingly impersonating a certified medical physician
online (3rd degree felony) , and reported to the Miami / Dade County and
FBI for ONLINE PROSTITUTION, theft and wire fraud.

Any allegations of sexual misconduct are untrue and not consistent with the
reality of the events as evidenced by numerous photographs, videos and
text as well as a transcribed voice recording of the Plaintiff [Plaintiff’s
Name], describing The Defendant, MARK ALAN GIPSON as “he’s so
nice, he’s super nice” … “yes he is a really nice guy”, Oct 29, (last day
of the trip) to Mr Modlt. 0:47 Plaintiff [Plaintiff’s Name], referring to the
Defendant MARK ALAN GIPSON “he’s so nice, he’s super nice” … “yes
he is a really nice guy.” EXHIBIT (48) TRANSCRIBED DIGITAL VOICE
RECORDINGS

I became extremely upset and concerned about wanting to continue
working with the Plaintiff [Plaintiff’s Name], after listening to a digital voice
recording of the Plaintiff and Mr. Moldt making anti-semantic statements
about “Nazis Germans cooking Jews in gas ovens to make Jew cakes”
the same day they both knew I had visited the Anne Frank House in
Amsterdam and the Plaintiff was aware that my step Father is Jewish and
was the head ER Doctor at Houston Methodist Hospital for many years, so
these anti-semantic comments about “cooking Jews into Jew-Cakes in
Gas Chambers” was particularly disturbing. EXHIBIT (49) TRANSCRIBED
DIGITAL VOICE RECORDINGS

Additionally, I became extremely upset and concerned about wanting to
continue working with the Plaintiff [Plaintiff’s Name], after listening to a
digital voice recording of the Plaintiff discuss prostitution and sex work in
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vivid detail, stating “Give them head, get the bread, then leave.” EXHIBIT
(49) TRANSCRIBED DIGITAL VOICE RECORDINGS

This combined with a long history of criminal sex work, violent bi polar
mental health issues, extreme alcoholism and hard drug addictions, made
me question if I wanted to continue working with the Plaintiff [Plaintiff’s
Name].

I thank you for your consideration and trust in the fair and unbiased
examination of the presented facts.
